       Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 1 of 46




 1   Colin Proksel
     OSBORN MALEDON, P.A.
 2   2929 North Central Avenue, 21st Floor
 3   Phoenix, Arizona 85012-2793
     State Bar No. 034133
 4   Telephone: (602) 640-9000
 5   Facsimile:    (602) 640-9050
     Email:        cproksel@omlaw.com
 6
     Attorney for Plaintiffs
 7
     Additional counsel listed on following page
 8
 9                             UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF ARIZONA
10                                    TUCSON DIVISION
11   Jane Doe, by her next friend and parents       Case No. ______________
12   Helen Doe and James Doe; and Megan Roe,
     by her next friend and parents, Kate Roe and   DECLARATION OF DR. STEPHANIE
13   Robert Roe,                                    BUDGE, PH.D., IN SUPPORT OF
                                                    PLAINTIFFS’ MOTION FOR A
14                     Plaintiffs,                  PRELIMINARY INJUNCTION AND
15                                                  PLAINTIFFS’ MOTION TO PROCEED
            v.                                      UNDER A PSEUDONYM
16
     Thomas C. Horne in his official capacity as
17   State Superintendent of Public Instruction;
     Laura Toenjes, in her official capacity as
18
     Superintendent of the Kyrene School
19   District; Kyrene School District; The
     Gregory School; and Arizona Interscholastic
20   Association Inc.,
21
                       Defendants.
22
23
24
25
26
27
28
       Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 2 of 46




 1   Jyotin Hamid*
     Justin R. Rassi*
 2   Amy C. Zimmerman*
 3   DEBEVOISE & PLIMPTON LLP
     66 Hudson Boulevard
 4   New York, New York 10001
 5   Telephone: (212) 909-6000
     Facsimile: (212) 909-6836
 6   Email: jhamid@debevoise.com
     Email: jrassi@debevoise.com
 7   Email: azimmerman@debevoise.com
 8
     Amy Whelan*
 9   Rachel Berg*
10   NATIONAL CENTER FOR LESBIAN RIGHTS
     870 Market Street, Suite 370
11   San Francisco, California 94102
     Telephone: (415) 343-7679
12   Facsimile: (415) 392-8442
13   Email: rberg@nclrights.org
     Email: awhelan@nclrights.org
14
     *Pro hac vice application forthcoming
15
16
17
18
19
20
21
22
23
24
25
26
27
28
       Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 3 of 46




 1          I, Stephanie Budge, declare as follows:

 2          1.     I submit this expert declaration based upon my personal knowledge.

 3          2.     If called to testify in this matter, I would testify truthfully based on my

 4   expert opinion.

 5                                Qualifications and Experience

 6          3.     I am a licensed psychologist who has been specializing in issues of gender

 7   identity and gender transition processes for over 15 years. I received a master’s degree in

 8   educational psychology from the University of Texas at Austin in 2006 and a PhD in

 9   counseling psychology in 2011 from the University of Wisconsin-Madison (UW-

10   Madison). My PhD concentration focused on transgender individuals’ mental health. As

11   part of my PhD program, I also specialized in psychological assessment. A true and

12   correct copy of my curriculum vitae is attached hereto as Exhibit A.

13          4.     I have been a mental health professional since 2006, and I am currently

14   licensed to practice psychology in the state of Wisconsin (license # 3244-57). I have been

15   a faculty member in the UW-Madison Department of Counseling Psychology since 2014.

16          5.     I have expertise working with transgender individuals. Since 2007, I have

17   been a mental health provider to transgender individuals. Since 2011, transgender

18   individuals have comprised the majority of my clinical caseload, and I have worked

19   clinically with over 200 transgender clients through the provision of individual therapy,

20   group therapy, psychological evaluations, and supervision of others’ clinical work.

21          6.     As a faculty member at UW-Madison, I teach courses that focus on training

22   master’s and doctoral students skills to become mental health professionals and

23   psychological researchers. I provide pro bono therapy and train student therapists in best

24   practices in clinical work with transgender clients at the Counseling Psychology Training

25   Clinic (CPTC), the community clinic affiliated with my academic department at UW-

26   Madison.

27
28
       Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 4 of 46




 1          7.     As part of my faculty appointment, I am the Director of the Trans CARE
 2   Collaborative. In this role, I design research projects that focus on transgender
 3   individuals’ mental health.
 4          8.     I am also the Director of the Advancing Health Equity and Diversity
 5   (AHEAD) program in the School of Medicine and Public Health at UW-Madison. In this
 6   role, I mentor postdoctoral scholars and junior faculty in the School of Medicine and
 7   Public Health who focus their clinical and research efforts on health equity issues.
 8          9.     I have published 99 invited and peer-reviewed journal articles and book
 9   chapters, with the majority of these focusing on transgender individuals. Several of these
10   publications are focused on the impact of discrimination on transgender people’s mental
11   health and effective interventions to improve transgender people’s mental health. I have
12   been involved in more than 180 academic presentations (internationally, nationally, and
13   regionally), the majority of which have focused on transgender individuals. I am an
14   associate editor for the journal Psychology of Sexual Orientation and Gender Diversity. I
15   am on the editorial board for the International Journal of Transgender Health and
16   LGBTQ+ Family: An Interdisciplinary Journal. Researchers in the United States and
17   internationally have sought my assistance as an expert reviewer for research focused on
18   transgender individuals. A listing of my publications and lectures is included in my
19   curriculum vitae in Exhibit A.
20          10.    I have received several awards for my work with transgender individuals.
21   Most recently, I received the 2021 American Psychological Association (APA)
22   Distinguished Contribution to Counseling Psychology Award for my clinical work and
23   research with transgender people. I also received the 2021 APA Social Justice Award for
24   my contributions to psychotherapeutic practice with transgender people. I was the first
25   recipient of the APA Transgender Research Award in 2010. Locally, I am also a member
26   of the Wisconsin Trans Health Coalition (WTHC), which is an organization focused on
27
28
                                                  2
       Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 5 of 46




 1   improving health care for transgender individuals throughout Wisconsin. My primary
 2   role in the coalition is to consult on research projects and collect data about transgender
 3   individuals in the upper Midwest to tailor health care interventions for local community
 4   members. For my community-focused research with the WTHC, I received the 2018
 5   UW-Madison School of Education Community Engaged Scholar Award, the 2021 UW-
 6   Madison Exceptional Service Award, and the 2022 UW-Madison School of Education
 7   Excellence in Diversity Award.
 8          11.    I am also a member of the Society for the Psychology of Sexual Orientation
 9   and Gender Diversity within the APA (of which I am also a member). In August 2021, I
10   completed a 10-year term as co-chair of the Science Committee for the Society and now
11   continue as a member of the committee. We provide programming at the annual APA
12   convention to disseminate cutting-edge research on the best psychological practices and
13   evidence-based treatments with lesbian, gay, bisexual, transgender, and queer (LGBTQ)
14   individuals. At the 2022 APA annual convention, I chaired or participated in six
15   presentations/panels that focused on (a) best practices in psychological science focused
16   on transgender populations; and (b) interventions to reduce psychological distress for
17   transgender individuals. In 2021, I became a Fellow of the APA.
18          12.    I am also a member of the World Professional Association of Transgender
19   Health (WPATH). WPATH is an interdisciplinary professional and educational
20   organization of individuals worldwide specializing in research and practice in transgender
21   health. A complete list of my involvement in various professional associations is included
22   in my curriculum vitae in Exhibit A.
23          13.    In preparing this declaration, I reviewed the text of Senate Bill 1165 (“SB
24   1165”) at issue in this matter. I also relied on my scientific education and training, my
25   research experience, and my knowledge of the scientific literature in the pertinent fields.
26   The materials I have relied upon in preparing this declaration are the same types of
27   materials that experts in my field of study regularly rely upon when forming opinions on
28
                                                 3
       Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 6 of 46




 1   these subjects. I may wish to supplement these opinions or the bases for them because of
 2   new scientific research or publications or in response to statements and issues that may
 3   arise in my area of expertise.
 4          14.    I have not met or spoken with the Plaintiffs or their parents for purposes of
 5   this declaration. My opinions are based solely on the information that Plaintiffs’ attorneys
 6   have provided me as well as my extensive background and experience with transgender
 7   clients.
 8          15.    In the past six years, I have been retained as an expert witness in the
 9   following cases: Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. Of Educ., No. 16-3522
10   (7th Cir.), Flack v. Wis. Dep’t of Health Servs., No. 3:18-cv-00309 (W.D. Wis.), Boyden
11   v. State of Wis. Emp. Trust Funds, No. 17-cv-00264-wmc (W.D. Wis.), Cooper v. USA
12   Powerlifting & USA Powerlifting Minn., No. 62-CV-21-211 (Minn.), Bridge v. Okla.
13   State Dep’t of Educ., No. CIV-22-787-JD (W.D. Okla.), and Lusk v. Minn. Dep’t of
14   Corr., No. 62-CV-22-3284 (Minn.). Of these cases, I provided testimony by deposition
15   and at trial in Boyden and testimony by deposition in Cooper.
16          16.    I am being compensated at an hourly rate of $250/hour for actual time
17   devoted for research, preparation, reports, and/or consulting related to my expert opinion
18   in this case. If deposed or providing testimony in the state of Wisconsin, I will be
19   compensated at a rate of $400/hour. I also receive $3,000 a day for compensation when
20   travel is required for my services. My compensation does not depend on the outcome of
21   this litigation, the opinions I express, or the testimony I provide.
22                                       Transgender Youth
23          17.    The term “gender identity” is well-established in psychology and medicine
24   and refers to a person’s internal or psychological sense of having a particular gender. All
25   human beings have a gender identity. Human beings usually begin to explore and
26   understand their gender identity around the age of three (with some variation).
27
28
                                                    4
         Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 7 of 46




 1           18.   At birth, the sex of infants is generally identified as male or female based
 2   on external genitalia. Typically, individuals born with the external physical
 3   characteristics commonly associated with males grow up to identify as men and
 4   experience themselves as male, and individuals born with the external physical
 5   characteristics commonly associated with females grow up to identify as women and
 6   experience themselves as female. However, for transgender individuals, their gender
 7   identity differs from the sex they were identified as at birth.
 8           19.   Every individual’s sex is comprised of many distinct biologically
 9   influenced characteristics, including but not limited to chromosomal makeup, hormones,
10   internal and external reproductive organs, secondary sex characteristics, and gender
11   identity.
12           20.   Transgender children and adolescents experience a pervasive, consistent,
13   persistent, and insistent sense of being a gender different from the sex assigned to them.
14           21.   Gender identity is innate and cannot be changed through psychological or
15   medical treatments. A girl who is transgender cannot simply turn off her gender identity
16   like a switch, any more than a non-transgender girl or anyone else could. It is not a
17   personal decision, preference, or belief. It is a core sense of oneself.
18           22.   Like all children, transgender youth can thrive and grow into healthy adults
19   when they are supported by their parents and caretakers and their social environment.
20                             Medical Care for Transgender Youth
21           23.   The incongruence between a person’s gender identity and sex assigned at
22   birth can manifest in clinically significant and disabling distress, which the APA calls
23   gender dysphoria.1 Gender dysphoria is codified in the APA’s Diagnostic and Statistical
24   Manual of Mental Disorders (DSM-5) and is the medical and psychiatric diagnosis for
25   distress associated with gender incongruence.
26   1
          American Psychiatric Association, Diagnostic and Statistical Manual of Mental
27        Disorders (5th ed. 2013).
28
                                                    5
       Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 8 of 46




 1          24.    Two current diagnostic categories are used by mental health and medical
 2   providers when children and youth are transgender: Gender Dysphoria in Childhood
 3   (DSM Diagnostic Code F64.2) and Gender Dysphoria in Adolescents and Adults (DSM
 4   Diagnostic Code F64.9). Although individuals who are diagnosed with gender dysphoria
 5   can experience a diversity of symptoms, the shared diagnostic criteria that is required for
 6   both includes clear, distinct, and significant distress from the incongruence between the
 7   sex the individual was assigned at birth and their gender identity.
 8          25.    Gender dysphoria is highly treatable, and the medical community has
 9   known for decades how to treat this serious medical condition. Every major medical
10   association in the United States agrees that medical treatment for gender dysphoria is
11   safe, necessary, and effective.
12          26.    The precise treatment for gender dysphoria depends on the individual. For
13   most transgender individuals, a gender transition is considered psychologically and
14   medically necessary. Transition can take either or both of two forms: (a) social transition,
15   and (b) medical treatments that change a person’s body to align with their gender.
16          27.    For transgender individuals, social transition can be an important aspect of
17   treatment to reduce the symptoms of gender dysphoria. As part of a social transition, an
18   individual will typically, among other things, use a name and pronouns congruent with
19   their gender identity and use sex-designated facilities such as restrooms that align with
20   their gender identity. To be clinically effective at alleviating the distress associated with
21   gender dysphoria, a social transition must be respected consistently across all aspects of a
22   transgender individual’s life—for example, at home, in school, and at work. It is the aim
23   of treatment to assist the individual in successfully integrating their internal identity into
24   a life that allows them to function consistently in accordance with that identity and not
25   feel shame for who they are. For those transgender adolescents for whom social transition
26   is part of treatment of gender dysphoria, it is likely that serious distress will result if
27   clinically indicated aspects of transition are impeded.
28
                                                   6
       Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 9 of 46




 1          28.     Many transgender patients also undergo medical procedures to assist them
 2   with achieving primary or secondary sex characteristics that are closely aligned with their
 3   gender identity. Hormone therapy may be prescribed—either puberty-blocking hormones
 4   designed to delay the onset of physical changes associated with puberty and/or hormones
 5   designed to masculinize or feminize the individual’s appearance. Chest reconstruction
 6   may be advised for some older adolescents, depending on several factors. Genital surgery
 7   is generally not advised until after the adolescent has reached the age of majority.
 8   Whether any of these medical interventions are indicated for a patient depends on the
 9   needs of the individual patient.
10          29.     Transgender        girls   treated       with   hormone   therapy   may   appear
11   indistinguishable from non-transgender girls. Transgender girls who are prescribed
12   puberty blockers will not develop the deepened voice, facial hair, and muscle
13   development experienced by boys during puberty, and if that is followed by estrogen and
14   anti-androgen medication, they will have breast development, redistribution of fat
15   (specific to abdomen, buttocks, hips, thighs, and arms), musculature, and hair and skin
16   texture typical of other girls.
17          30.     Psychotherapy to reduce the harmful effects of stigma and improve
18   resiliency can also be an important form of support for individuals of any age with gender
19   dysphoria. While psychotherapy can be useful as a support tool, it is not a substitute for
20   social transition and medical treatments needed to reduce/eliminate gender dysphoria.
21          31.     There is no “one size fits all” treatment regimen. In addition, individuals
22   may be constrained by practical limitations—such as medical contraindications or cost—
23   on the ability to obtain particular treatments.
24          32.     Attempts to “cure” transgender individuals by seeking to change their
25   gender identity to match their assigned sex are ineffective and cause extreme
26   psychological damage. All major associations of medical and mental health providers,
27   including the American Medical Association, the American Psychiatric Association, the
28
                                                         7
         Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 10 of 46




 1   American Psychological Association, and the American Academy of Pediatrics, consider
 2   such efforts unethical.
 3           33.     When individuals with gender dysphoria do not obtain competent and
 4   necessary treatment, serious and debilitating psychological distress (for example, suicidal
 5   ideation, substance use, depression, anxiety, and self-harm) often occurs.
 6           34.     Failing to support a transgender minor’s gender identity can cause serious
 7   harm to their long-term health and wellbeing because transgender youth experience that
 8   mistreatment as a profound rejection of their core self. This harm often includes
 9   significant psychological distress and difficulty maintaining healthy interpersonal
10   relationships and developing emotional resilience, among others.
11                 Participating in Sports Provides Significant Long-Term Benefits
                       to a Child’s Mental and Physical Health and Wellbeing
12
13           35.     For children and young adults, school-sponsored athletics offer lifelong
14   benefits and have a positive developmental impact that is second only to family support.
15   These benefits can be seen in a variety of realms in students’ lives, including social and
16   emotional development as well as physical and mental health. With regards to social
17   benefits, students who participate in sports are given the opportunity to make friends and
18   become part of a supportive community of teammates and peers. 2 Athletes spend
19   considerable time with their teammates, often experiencing high-pressure situations
20   together that lead to deeper friendships. Students who participate in sports also can build
21   teamwork, discipline, and leadership skills. They learn the importance of working as part
22   of a team to achieve a common goal and the importance of each teammate’s role in
23   bringing about that goal. Moreover, coaches and other staff members provide students
24
25
     2
26         See Erin M. Boone & Bonnie J. Leadbeater, Game On: Diminishing Risks for
           Depressive Symptoms in Early Adolescence Through Positive Involvement in Team
27         Sports, 16 J. Rsch. Adolescence 79 (2006).
28
                                                  8
         Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 11 of 46




 1   who participate in sports access to meaningful mentorship and guidance. This mentorship
 2   can extend beyond school athletics, guiding students through other areas of their lives.
 3           36.    With regards to emotional benefits, school sports provide an opportunity
 4   for youth to gain confidence. They also reduce the effects of risk factors, such as stressful
 5   life events, that lead to increases in depression.3 Furthermore, learning how to manage
 6   stressful events at a young age provides benefits to student athletes throughout their lives,
 7   such as learning how to regulate their emotions. 4 Students who participate in sports
 8   experience significantly lower levels of externalizing issues (for example, aggression and
 9   delinquency) and anxiety/depression.5 Students also experience the success and personal
10   fulfillment achieved from discipline, hard work, and perseverance through many hours of
11   practice and competition, all of which helps students develop positive habits that can
12   benefit them in many other areas of life.6
13           37.    With regards to physical and mental health benefits, students who play
14   school sports have fewer physical and mental health concerns when compared to those
15   who do not. 7 Participation in sports at a young age also encourages continued
16   participation as an adult, in turn reducing the morbidity and mortality of many diseases
17   that can arise later in life.8
18   3
           See id. at 79, 88.
     4
19         See, e.g., Stewart A. Vella et al., Sports Participation and Parent-Reported Health-
           Related Quality of Life in Children: Longitudinal Associations, 164(6) J. Pediatrics
20         1469 (2014).
     5
21         See Sarah J. Donaldson & Kevin R. Ronan, The Effects of Sports Participation on
           Young Adolescents’ Emotional Well-Being, 41 Adolescence 369 (2006).
22   6
           See, e.g., Jennifer Y. Mak & Chong Kim, Relationship Among Gender, Athletic
           Involvement, Student Organization Involvement and Leadership, 25:2 Hum. Kinetics
23
           J. 89 (2016); Robert P. Dobosz & Lee A. Beaty, The Relationship Between Athletic
24         Participation and High School Students’ Leadership Ability, 34 Adolescence 215
           (1999).
25   7
           Hans Steiner et al., Adolescents and Sports: Risk or Benefit?, 39 Clinical Pediatrics
26         161, 164 (2000).
     8
           Christer Malm et al., Physical Activity and Sports—Real Health Benefits: A Review
27         with Insight into the Public Health of Sweden, 7 Sports 1, 13–14 (2019).
28
                                                  9
         Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 12 of 46




 1           38.    Moreover, students who participate in high school sports are more likely to
 2   finish college and to be actively engaged in planning for their future. Participation in
 3   sports also has a positive impact on academic achievement.9
 4           The Negative Impact of Banning Transgender Girls from School Sports
 5           39.    Based on my experience working with transgender youth, it would be
 6   psychologically damaging for a transgender girl to be banned from playing sports on
 7   equal terms with their non-transgender peers. This specific type of discrimination causes
 8   irreversible and severe damage to their development. Specifically, discriminating against
 9   transgender youth athletes leads to an increase in youth anxiety, depression, trauma, and
10   suicidal ideation/attempts as well as an increase in physical health concerns for
11   transgender youth. 10 Barrera et al. (2022) report that the physical consequences for
12   transgender youth of not being able to participate in sports include worse cardiovascular
13   outcomes, poor bone mineral density, and poor neurocognitive development when
14   compared to non-transgender youth.11 In addition, physicians report that participation in
15   sports is often one primary method through which transgender youth gain access to
16   regular medical care, and if they do not participate in sports, it increases the disparity
17   between non-transgender youth and transgender youth.12 In addition to the physical and
18   mental health consequences of not being able to participate in sports, transgender people
19
20
21
22   9
           See, e.g., Angela Lumpkin & Judy Favor, Comparing the Academic Performance of
           High School Athletes and Non-Athletes in Kansas in 2008-2009, 4 J. Sport Admin. &
23
           Supervision 41 (2012).
     10
24         Landon D. Hughes et al., Pediatric Provider Perspectives on Laws and Policies
           Impacting Sports Participation for Transgender Youth, 9(4) LGBT Health 247–53
25         (2022).
     11
26         Ellis Barrera et al., The Medical Implications of Banning Transgender Youth from
           Sport Participation, 176(3) JAMA Pediatrics 223–24 (2022).
27   12
           See Hughes et al., supra note 10.
28
                                                 10
      Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 13 of 46




 1   report greater experiences of harassment, prejudice, rejection, and bullying as a result of
 2   legislation focused on restricting transgender people’s rights.13
 3          40.    Transgender girls will also internalize the shame and stigma of being
 4   excluded for a personal characteristic (being transgender) over which they have no
 5   control and that already subjects them to prejudice and social stigma. Fear of additional
 6   discrimination and violence are two primary outcomes that stem from transgender girls
 7   being excluded from sports. Not only are there the actual consequences outlined above
 8   that occur from direct discrimination, but fear of additional sports-related discrimination
 9   leads transgender youth to avoid gym/physical education class, locker rooms, and athletic
10   fields and facilities. 14 Also, being misgendered (i.e., requiring transgender girls to
11   participate in boys’ sports) is associated with the internalization of stigma and the
12   subsequent mental health consequences that arise from internalized stigma.15
13          41.    For transgender girls who are already playing on girls’ teams, a law that
14   requires them to be excluded from continued participation on girls’ teams would have a
15   further negative impact on their health and well-being, causing them to feel isolated,
16   rejected, and stigmatized, and thereby putting them at high risk for severe depression
17   and/or anxiety.
18
19
20
21
22
23   13
          Elliot A. Tebbe et al., A Dangerous Visibility: Moderating Effects of Anti-Trans
24        Legislative Efforts on Trans and Gender-Diverse Mental Health, 9(3) Psych. Sexual
          Orientation Gender Diversity 259–71 (2021).
25   14
          Joseph G. Kosciw, et al., GLSEN, The 2021 National School Climate Survey: The
26        Experiences of LGBTQ+ Youth in Our Nation’s Schools 10–11 (2022).
     15
          Kevin A. McLemore, Experiences with Misgendering: Identity Misclassification of
27        Transgender Spectrum Individuals, 3(1) Stigma & Health 53–64 (2015).
28
                                                  11
      Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 14 of 46




 1          I declare under criminal penalty under the laws of Arizona that the foregoing is
 2   true and correct.
 3          Signed on the 7th day of April, 2023 in Madison, Wisconsin.
 4
 5
                                                      Stephanie Budge, Ph.D.
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                 12
Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 15 of 46




                     EXHIBIT A
         Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 16 of 46




                     Stephanie L. Budge, PhD, Licensed Psychologist
                                    Curriculum Vitae
     Department of Counseling Psychology, School of Education, Room 305, University of
         Wisconsin-Madison, Madison, WI 53706, 608-263-3753, budge@wisc.edu


EDUCATION

Doctor of Philosophy                                                          8/2006 - 8/2011
University of Wisconsin-Madison
APA Accredited Counseling Psychology Program
Minor: Psychological Assessment
Dissertation Title: Distress in the transition process for transgender individuals: The role of loss,
community, and coping.

Master of Science                                                              8/2004 - 5/2006
University of Texas at Austin
Educational Psychology
Thesis Title: Sexual pressure in gay, lesbian, and bisexual relationships.

Bachelor of Science                                                          1/2003 - 12/2003
University of Utah
Major: Psychology

Pace University                                                              9/2000 - 12/2002
Major: Psychology
Minor: Women’s and Gender Studies

POSITIONS HELD

Associate Professor, tenured                                                 8/2018 - current
Department of Counseling Psychology,
University of Wisconsin-Madison

Director of AHEAD (Advancing Health Equity and Diversity)                    7/2018 – current
Institute for Clinical and Translational Research
School of Medicine and Public Health
University of Wisconsin-Madison

Diversity, Equity, and Inclusion Scholar In Residence                        1/2022 – 12/2022
Mental Illness Research Education and Clinical Center
Veterans Affairs

Health Psychologist                                                          6/2017 – 2/2019
University of Wisconsin Hospital & Clinics
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 17 of 46
Stephanie Budge CV 2023



American Family Children’s Hospital

Assistant Professor, tenure-track                                          8/2016 – 8/2018
Department of Counseling Psychology,
University of Wisconsin-Madison

Assistant Professor, visiting,                                               8/2014 - 7/2016
Department of Counseling Psychology,
University of Wisconsin-Madison

Postdoctoral Clinical Training                                               7/2013 - 6/2014
University of Louisville Trans Project

Assistant Professor, tenure-track                                            8/2011 - 8/2014
Department of Educational and Counseling Psychology,
University of Louisville

Postdoctoral Clinical Training,                                              9/2011 - 8/2012
University of Louisville Counseling Center

Predoctoral Internship,                                                      8/2010 - 8/2011
University of Minnesota, University
Counseling and Consulting Services,
APA-Accredited, APPIC listed predoctoral internship

PROFESSIONAL LICENSE

Licensed Psychologist in Wisconsin - 3244-57                                 2/2015 - current

Licensed Psychologist (provisional) in Kentucky - 2012-42                    8/2011 - 6/2014
(under supervision to gain hours for Health Service Provider status)

SPECIAL HONORS AND AWARDS
Excellence in Diversity Award                                                        3/2022
Awarded the School of Education Excellence in Diversity Award at UW-Madison—awarded for
my research, teaching, and service focused on supporting and advocating for LGBTQ people.

American Psychological Association Division 44 Fellow                                    10/2021
Fellow status is an honor bestowed upon APA members who have shown evidence of unusual
and outstanding contributions or performance in the field of psychology. Fellow status requires
that a person's work has had a national impact on the field of psychology beyond a local, state or
regional level. Division 44 focuses on psychological science and issues related to Lesbian, Gay,
Bisexual, Transgender, and Queer people.

UW-Madison Exceptional Service Award                                               4/2021
Awarded the UW-Madison Exceptional Service Award, provided to faculty who provide service



                                                                                                 2
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 18 of 46
Stephanie Budge CV 2023



“above and beyond” service expectorations in a university environment

Division 17 Distinguished Contribution to Counseling Psychology                     4/2021
American Psychological Association Division 17 (Society of Counseling Psychology) award for
research and practice with trans and nonbinary populations

Division 29 Social Justice Award                                                      2/2021
American Psychological Association Division 29 (Society for the Advancement of
Psychotherapy) award for social justice work and research with LGBT populations

Impact 2030 Faculty Fellow                                                             8/2020
Awarded the Impact 2030 Faculty Fellowship. Chosen to be one of 10 faculty in the School of
Education to be an Impact 2030 Fellow. The fellowship includes 5 years of research support.

Honorary Rainbow Degree                                                                5/2019
The University of Wisconsin-Madison’s Gender and Sexuality Campus Center provides an
award every year to an individual on campus who is dedicated to making positive change for
LGBTQ students on campus.

Community Engaged Scholarship Award                                                 4/2018
The University of Wisconsin-Madison School of Education award for researchers engaged in
community-focused scholarship—awarded specifically for my collaborations with the Wisconsin
Trans Health Coalition

Outstanding Paper Award                                                              6/2017
American Psychological Association Division 17 (Counseling Psychology) award for a 2016
major contribution published in The Counseling Psychologist

Division 17 Early Career Award                                                       7/2017
American Psychological Association Division 17 (Counseling Psychology) award for social
justice work and research with LGBT populations

Division 29 Early Career Award                                                        5/2015
American Psychological Association Division 29 (Society for the Advancement of
Psychotherapy) award for psychotherapy research

University of Louisville Trustees Award Nomination                                    2/2013
Nomination provided to faculty for excelling in mentoring students

Outstanding Graduate Student Award                                                7/2010
American Psychological Association Division 17 (Counseling Psychology) LGBT award given
for community contributions with the LGBT population during my doctoral studies

Graduate Student Research Award                                                       7/2010
American Psychological Association Division 17 (Counseling Psychology)
Society for Vocational Psychology/ACT for career research regarding transgender



                                                                                            3
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 19 of 46
Stephanie Budge CV 2023



individuals

Transgender Research Award                                                              6/2010
Recipient of the inaugural American Psychological Association Division 44
(Society for the Psychological Study of Lesbian, Gay, Bisexual, and Transgender
Issues) award for research with transgender populations

John W. M. Rothney Memorial Research Award                                         2/2010
University of Wisconsin-Madison Counseling Psychology Department award provided to an
outstanding doctoral student excelling in research

Outstanding Student Poster Award                                                        8/2009
American Psychological Association Division 17 (Counseling Psychology)

EXPERT WITNESS AND PUBLIC INTEREST EXPERIENCE

Lusk v. Minnesota Department of Corrections, No. 62-CV-22-3284 (Minnesota, 2022)

Bridge v. Oklahoma State Department of Education, No. CIV-22-787-JD (Oklahoma, 2022)

Cooper v. USA Powerlifting & USA Powerlifting Minnesota, No. 62-CV-21-211 (Minnesota,
2021)

Boyden v. State of Wisconsin Employee Trust Funds, No. 17-cv-264 (Wisconsin, 2018)

Flack v. Wisconsin Department of Health Services, No. 3:18-cv-00309 (Wisconsin, 2018)

Whitaker v. Kenosha Unified School District, No. 2:16‐cv‐00943‐PP (7th Cir. 2016)

Name redacted (private case of a transgender woman seeking asylum), United States DOJ
Immigration Court Case (2015)

                                        RESEARCH
JOURNAL PUBLICATIONS
Underlining denotes student

    1. Budge, S.L., Shoenike, D., Lee, J., Norton, M., & Sinnard, M.T. (In press). Transgender
       and nonbinary patients’ psychotherapy goals: A secondary analysis from a randomized
       controlled trial. Journal of Psychiatric Research.
    2. Raines, C., Lindley, L., & Budge, S.L. (In press). Development and validation of the
       Masculine Sexual Entitlement Norms Scale. Psychology of Men & Masculinities.
    3. Budge, S.L., Sinnard, M.T, Lindley, L., Dillard, Q., & Katz-Wise, S.L. (In press).
       Content analyses of concordance and discordance regarding identity, affect, and coping
       in families with transgender and nonbinary youth. LGBTQ+ Family: An Interdisciplinary
       Journal.




                                                                                             4
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 20 of 46
Stephanie Budge CV 2023



    4. Budge, S.L., Tebbe, E.A., & Love, D. (In press). The development and pilot testing of a
        minority stress psychoeducation tool for transgender and nonbinary people. Transgender
        Health.
    5. Lindey, L., Pulice-Farrow, L., & Budge, S.L. (In press). The antecedents of gender
        dysphoria and the associated thoughts, emotions, and ways of coping: A qualitative
        analysis and clinical implications. Counselling Psychology Quarterly.
    6. Lindley, L., & Budge, S.L. (In press). Development and validation of the Trans and
        Nonbinary Coping Measure (TNCM): A measure of trans and nonbinary specific ways of
        coping with gender-related stress. Psychology of Sexual Orientation and Gender
        Diversity.
    7. Tebbe, E., Bell, H., Cassidy, K., Lindner, S., Wilson, E., & Budge, S.L. (In press). “It’s
        loving yourself for you”: Happiness in trans and nonbinary adults. Psychology of Sexual
        Orientation and Gender Diversity.
    8. Xu, G., Wang, K., Budge, S.L., & Sun, S. (2023). “We don’t have a template to follow”:
        Sexual identity development and its facilitative factors among sexual minority men in the
        context of China. Journal of Counseling Psychology, 70, 46–158.
    9. Tebbe, E.A. & Budge, S.L. (2022). Mental health and the factors driving disparities and
        promoting well-being in trans and nonbinary people. Nature Reviews Psychology, 12,
        694-707.
    10. dickey, l. m., Thomas, K., Andert, B., Ibarra, N., & Budge, S. L. (2022). The relationship
        between realization of transgender identity and transition processes with nonsuicidal self-
        injury in transgender populations. Psychiatry Research, 310, 114332.
    11. Minero, L.M., Domínguez, S. Jr., Budge, S.L., & Salcedo, B. (2022). Latinx trans
        immigrants’ survival of torture in U.S. detention: A qualitative investigation of the
        psychological impact of abuse and mistreatment. International Journal of Transgender
        Health, 23, 35-59.
    12. Sinnard, M.T., Budge, S.L., & Rossman, H.R. (2022). Nonbinary individuals’ emotional
        experiences: implications for advancing counseling psychology beyond the binary.
        Counselling Psychology Quarterly, 35, 19-42.
    13. Barr, S.M., Snyder, K., Adelson, J., & Budge, S.L. (2021). Post-traumatic stress in the
        trans community: The roles of anti-transgender bias, non-affirmation, and internalized
        transphobia. Psychology of Sexual Orientation and Gender Diversity, 9(4), 410–421.
    14. Budge, S.L., Guo, E., Mauk, E., Tebbe, E.A. (2021). The development of an
        observational coding scheme to assess transgender and nonbinary clients’ reported
        minority stress experiences. Psychotherapy, 58, 288-300.
    15. Thai, J.L., Budge, S.L., & McCubbin, L. (2021). Qualitative examination of transgender
        Asian Americans navigating and negotiating cultural identities and values.
        Asian American Journal of Psychology, 12, 301–316.
    16. Bhattacharya, N., Budge, S.L., Pantalone, D.W., & Katz-Wise, S.L. (2021).
        Conceptualizing relationships among transgender and gender diverse youth and their
        caregivers. Journal of Family Psychology, 35, 595-605.
    17. Budge, S.L., Sinnard, M.T., & Hoyt, W.T. (2021). Longitudinal effects of psychotherapy
        with transgender and nonbinary clients: A randomized controlled pilot trial.
        Psychotherapy, 58, 1-11.




                                                                                                  5
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 21 of 46
Stephanie Budge CV 2023



    18. Budge, S.L., Orzechowski, M., Lavender, A., Schamms, S., Onsgard, K., Leibowitz, S.,
        & Katz-Wise, S.L. (2021). Transgender and gender nonconforming youths’ emotions:
        The Appraisal, Valence, Arousal Model. The Counseling Psychologist, 49, 138-172.
    19. Budge, S.L., Lee, J., Lindley, L. (2020). Therapy with transmasculine clients.
        Psychotherapie im Dialogue, 21, 52-56.
    20. Sun, S., Budge, S.L., Shen, W., Ge, X., Liu, M., & Feng, S. (2020). Minority stress and
        health: A grounded theory exploration among men who have sex with men in China and
        implications for health research and interventions. Social Science and Medicine.
    21. Allen, B.J., Andert, B., Botsford, J., Budge, S.L., & Rehm, J. (2020). Intersections at the
        margins: Comparing school experiences of nonbinary and binary-identified transgender
        youth. Journal of School Health, 90, 358-367.
    22. dicky, l.m. & Budge, S.L. (2020). Suicide and the transgender experience: A public
        health crisis. American Psychologist, 75, 380-390.
    23. Budge, S.L., Domínguez, S. Jr., & Goldberg, A.E. (2020). Minority stress in nonbinary
        students in higher education: The role of campus climate and belongingness. Psychology
        of Sexual Orientation and Gender Diversity, 7, 222-229.
    24. Pantalone, D. & Budge, S.L. (2020). Psychotherapy research is needed to improve
        clinical practice for clients with HIV. Psychotherapy, 57, 1-7.
    25. Hase, C.N., Meadows, J.C., & Budge, S.L. (2019). Inclusion and exclusion in the white
        space: An investigation of the experiences of people of color in a primarily white
        American meditation community. Journal of Global Buddhism, 20, 1-18.
    26. Paquin, J., Tao, K., & Budge, S.L. (2019). A social justice framework for ethical
        psychotherapy research. Psychotherapy, 56, 491-502.
    27. Budge, S.L., & Katz-Wise, S. L. (2019). Sexual minorities’ sexual communication,
        internalized homophobia, and conformity to gender norms. International Journal of
        Sexual Health, 31, 36-49.
    28. Barcelos, C. & Budge, S.L. (2019). Inequalities in crowdfunding for transgender health
        care. Trans Health, 4, 81-88..
    29. Goldberg, A., Kuvalanka, K., Budge, S.L., Benz, M., & Smith, J. (2019). Mental health
        and health care experiences of transgender undergraduate and graduate students: A mixed
        methods study. The Counseling Psychologist, 47, 59-97.
    30. Rossman, K., Sinnard, M., & Budge, S.L. (2019). A qualitative examination of
        consideration and practice of consensual non-monogamy among sexual and gender
        minority couples. Psychology of Sexual Orientation and Gender Diversity, 6, 11-21.
    31. Budge, S.L., Conniff, J., Belcourt, W.S., Parks, R. L., Pantalone, D., & Katz-Wise, S.L.
        (2018). A grounded theory study of the development of trans youths’ awareness of
        coping with gender identity. Journal of Child and Family Studies, 27, 3048-3061.
    32. Budge, S.L. & Moradi, B. (2018). Attending to gender in psychotherapy: Understanding
        and incorporating systems of power. Journal of Clinical Psychology, 74, 2014-2027.
    33. Moradi, M. & Budge, S.L. (2018). A meta-analytic approach to studying psychotherapy
        outcomes for LGBTQ affirmative therapies. Journal of Clinical Psychology, 74, 2028-
        2042.
    34. Budge, S.L., Orovecz, J. , Owen, J.J., & Sherry, A.R. (2018). The relationship
        between conformity to gender norms, sexual orientation, and gender identity for sexual
        minorities. Counselling Psychology Quarterly, 31, 79-97.




                                                                                                 6
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 22 of 46
Stephanie Budge CV 2023



    35. Salkas, S., Conniff, J. & Budge, S.L. (2018). Provider quality and barriers to care for
        transgender people: An analysis of data from the Wisconsin transgender community
        health assessment. International Journal of Transgenderism, 19, 59-63.
    36. Katz-Wise, Budge, S.L. Fugate, E., Flanagan, K., Touloumtzis, C., Rood, B…Leibowitz,
        S. (2017). Transactional pathways of transgender identity development in transgender
        and gender nonconforming youth and caregiver perspectives from the Trans Youth
        Family Study. International Journal of Transgenderism,18, 243-263.
    37. Nienhuis, J. B., Owen, J., Valentine, J. C., Black, S. W., Halford, T. C. , Parazak, S.
        E., Budge, S., & Hilsenroth, M. J. (2018). Therapeutic alliance, empathy, and
        genuineness in individual adult psychotherapy: A meta-analytic review. Psychotherapy
        Research, 28, 593-605.
    38. Budge, S.L., Israel, T., Merrill, C. (2017). Improving the lives of sexual
        and gender minorities: The promise of psychotherapy research. Journal of Counseling
        Psychology, 64, 376-384.
    39. Budge, S.L., Chin, M.Y. , & Minero, L.P. (2017). Trans individuals’ facilitative coping:
        An analysis of internal and external processes. Journal of Counseling Psychology, 64, 12-
        25.
    40. ° Imel, Z.E., Budge, S.L., & Owen, J. (2017). Introduction to special section on advanced
        methodology: Counseling the dog to wag its methodological tail. Journal of Counseling
        Psychology, 64, 601-603.
    41. Katz-Wise, S. L., Williams, D. N., Keo-Meier, C. L., Budge, S. L., Pardo, S., & Sharp,
        C. (2017). Longitudinal associations of sexual fluidity and health in transgender men and
        cisgender women and men. Psychology of sexual orientation and gender diversity, 4,
        460-471
    42. ° Matsuno, E. & Budge, S.L. (2017). Non-binary/genderqueer identities: A critical
        review of the literature. Current Sexual Health Reports, 9, 116-120.
    43. Katz-Wise, S.L., Reisner, S.L., White, J.M., & Budge, S.L. (2017). Self-reported
        changes in attractions and social determinants of mental health in transgender adults.
        Archives of Sexual Behavior, 46, 1425-1439.
    44. Budge, S.L. & dickey, l.m. (2017). Barriers, challenges, and decision-making in the letter
        writing process for gender transition. Psychiatric Clinics, 40, 65-78.
    45. Katz-Wise, S.L., Budge, S. B., Orovecz, J.O. , Nguyen, B., & Thompson, K. (2017).
        Imagining the Future: Qualitative findings of future orientation from the Trans Youth
        Family Study. Journal of Counseling Psychology, 64, 26-40.
    46. Budge, S.L. (2016). To err is human: An introduction to the special issue on clinical
        errors. Psychotherapy, 53, 255-256.
    47. Sinnard, M. , Raines, C. , & Budge, S.L. (2016). The association between geographic
        location and anxiety and depression in transgender individuals: An exploratory study of
        an online sample. Transgender Health, 1, 181-186.
    48. Budge, S.L. & Pankey, T.L. (2016). Ethnic differences in gender dysphoria. Current
        Psychiatry Reviews, 12, 175-180.
    49. dickey, l.m., Budge, S.L., Katz-Wise, S.L., & Garza, M.V. (2016). Health disparities in
        the transgender community: Exploring differences in insurance coverage. Psychology of
        Sexual Orientation and Gender Diversity, 3, 275-282.




                                                                                                7
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 23 of 46
Stephanie Budge CV 2023



    50. Barr, S.M. , Budge, S.L., & Adelson, J.L. (2016) Transgender community belongingness
        as a mediator between strength of transgender identity and well-being. Journal of
        Counseling Psychology, 63, 87-97.
    51. Budge, S.L., Thai, J.L., Tebbe, E., & Howard, K.H. (2016) The intersection of
        socioeconomic status, race, sexual orientation, transgender identity, and mental health
        outcomes. The Counseling Psychologist, 44, 1025-1049.
    52. Tebbe, E.A. & Budge, S.L. (2016) Research with transgender communities: Applying a
        process-oriented approach to methodological considerations and research
        recommendations. The Counseling Psychologist, 44, 996-1024.
    53. Moradi, B., Tebbe, E., Brewster, M., Budge, S.L., Lenzen, A., Enge, E…Painter, J.
        (2016). A content analysis of trans people and issues: 2002-2012. The Counseling
        Psychologist, 44, 960-995.
    54. Tebbe, E.A., Moradi, B., & Budge, S.L. (2016). Enhancing scholarship focused on trans
        people and issues. The Counseling Psychologist, 44, 950-959.
    55. Budge, S.L. (2015). Psychotherapists as gatekeepers: An evidence-based case-study
        highlighting the role and process of letter-writing for transgender clients. Psychotherapy,
        52, 287-297.
    56. Kopta, M., Owen, J.J., & Budge, S.L. (2015). Measuring psychotherapy outcomes with
        the Behavioral Health Measure-20: Efficient and comprehensive. Psychotherapy, 52,
        442-448.
    57. Watkins, C.E., Budge, S.L., & Callahan, J.L. (2015). Common and specific factors
        converging in psychotherapy supervision: A supervisory extrapolation of the
        Wampold/Budge psychotherapy relationship model. Journal of Psychotherapy
        Integration, 25, 214-235.
    58. Owen, J.J., Adelson, J.L., Budge, S.L., Wampold, B.E., Kopta, M., Minami, T., &
        Miller, S.D., (2015). Trajectories of change in short-term psychotherapy. Journal of
        Clinical Psychology, 71, 817-827.
    59. Budge, S.L. (2015). The effectiveness of psychotherapeutic treatments for personality
        disorders: A review and critique of current research practices. Canadian Psychology, 56,
        191-196.
    60. Owen, J.J., Adelson, J.L., Budge, S.L., Reese, R.J., & Kopta, M.M. (2015). Good-
        Enough Level and Dose-Effect models: Variation among outcomes and therapists.
        Psychotherapy Research, 26, 22-30.
    61. Katz-Wise, S.L. & Budge, S.L. (2015). Cognitive and interpersonal identity processes
        related to mid-life gender transitioning in transgender women. Counselling Psychology
        Quarterly, 28, 150-174.
    62. Budge, S.L., Orovecz, J., & Thai, J.L. (2015). Trans men’s positive emotions: The
        interaction of gender identity and emotion labels. The Counseling Psychologist, 43, 404-
        434.
    63. Budge, S. L., Keller, B.L., & Sherry, A. (2015) A qualitative investigation of lesbian,
        gay, bisexual, and queer women’s experiences of sexual pressure. Archives of Sexual
        Behavior, 44, 813-824.
    64. Budge, S.L. (2014). Navigating the balance between positivity and minority stress for
        LGBTQ clients who are coming out. Psychology of Sexual Orientation and Gender
        Diversity, 1, 350-352.




                                                                                                  8
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 24 of 46
Stephanie Budge CV 2023



    65. Budge, S.L., Rossman, H.K., & Howard, K.H. (2014). Coping and psychological distress
        among genderqueer individuals: The moderating effect of social support. Journal of
        LGBT Issues in Counseling, 8, 95-117.
    66. Budge, S.L., Moore, J.T., Del Re, A.C., Wampold, B.E., Baardseth, T.P., & Nienhuis,
        J.B. (2013). The effectiveness of evidence-based treatments for personality disorders
        when comparing treatment-as-usual and bona fide treatments. Clinical Psychology
        Review, 33, 1057-1066.
    67. Budge, S.L. (2013). Interpersonal psychotherapy with transgender clients.
        Psychotherapy, 50, 356-359.
    68. Katz-Wise, S.L., Budge, S.L., & Hyde, J.S. (2013). Individuation or identification? Self-
        objectification and the mother–adolescent relationship. Psychology of Women Quarterly,
        37, 366-380.
    69. Budge, S.L., Adelson, J.L., & Howard, K.H. (2013). Anxiety and depression in
        transgender individuals: The roles of transition status, loss, social support, and coping.
        Journal of Consulting and Clinical Psychology, 81, 545-557.
    70. Budge, S.L., Owen, J.J., Kopta, S.M., Minami, T., Hanson, M.R., & Hirsch, G (2013).
        Differences among trainees in client outcomes associated with the Phase Model of
        Change. Psychotherapy, 50, 150-157.
    71. Budge, S. L., Katz-Wise, S. L., Tebbe, E., Howard, K.A.S., Schneider, C. L., &
        Rodriguez, A. (2013). Transgender emotional and coping processes: Use of facilitative
        and avoidant coping throughout the gender transition. The Counseling Psychologist, 41,
        601-647.
    72. Valdez, C. R. & Budge, S.L. (2012). Addressing adolescent depression in schools:
        Effectiveness and acceptability of an in-service training for school staff in the United
        States. International Journal of Educational Psychology, 1, 228-25.
    73. Wampold, B.E., & Budge, S.L. (2012). The relationship—and its relationship to the
        common and specific factors of psychotherapy. The Counseling Psychologist, 40, 601-
        623.
    74. Wampold, B.E., Budge, S.L., Laska, K. M., Del Re, A.C., Baardseth, T.P., Fluckiger, C.,
        Minami, T., Kivlighan, M., & Gunn, W. (2011). Evidence-based treatments for
        depression and anxiety versus treatment-as-usual: A meta-analysis of direct comparisons.
        Clinical Psychology Review, 31, 1304-1315.
    75. Valdez, C. R., Dvorscek, M., Budge, S.L., & Esmond, S.L. (2011). Provider
        perspectives of Latino patients: Determinants of care and implications of treatment. The
        Counseling Psychologist, 39, 497-526.
    76. Wampold, B.E., Benish, S.G., Imel, Z.E., Miller, S.D., Laska, K., Del Re, A.C.,
        Baardseth, T.P., & Budge, S.L. (2010).What works in the treatment of PTSD? A
        response to Ehlers et al. Clinical Psychology Review, 30, 269-276.
    77. Budge, S. L., Tebbe, E. N. & Howard, K. A. S. (2010). The work experiences of
        transgender individuals: Negotiating the transition and coping with barriers. Journal of
        Counseling Psychology, 57, 377-393.
    78. Howard, K. A. S., Budge, S. L., Gutierrez, B., Lemke, N. T., & Owen, A. D. (2010)
        Future plans of urban youth: Influences, perceived barriers, and coping strategies.
        Journal of Career Development, 37, 655-676.




                                                                                                 9
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 25 of 46
Stephanie Budge CV 2023



    79. Budge, S. L., Baardseth, T. P., Wampold, B. H., & Fluckiger, C. (2010). Researcher
        allegiance and supportive therapy: Pernicious affects on results of randomized clinical
        trials. European Journal of Counselling and Psychotherapy, 12, 23-39.
    80. Howard, K. A. S., Budge, S. L., & McKay, K. M. (2010). Youth exposed to violence:
        The role of protective factors. Journal of Community Psychology, 38, 63-79.
    81. Budge, S. L. (2006) Peer mentoring in post-secondary education: Implications for
        research and practice. Journal of College Reading and Learning, 37, 71-85.

BOOK CHAPTERS

    1. Budge, S.L. (2022). Genderqueer. In A. Goldberg (Ed.) The SAGE Encyclopedia of
        LGBTQ Studies, 2nd Edition (pp. xx-xx). Thousand Oaks, CA: SAGE.
    2. Dominguez, S. & Budge, S.L. (2020). Gender Nonconformity. In A. Goldberg (Ed.) The
        SAGE Encyclopedia of Trans Studies (pp. xx-xx). Thousand Oaks, CA: SAGE.
    3. Budge, S.L. & Moradi, B. (2019). Gender Identity. In J. Norcross and B. Wampold
        (Eds.) Psychotherapy Relationships That Work, Volume 2. London, England: Oxford
        University Press.
    4. Moradi, B. & Budge, S.L. (2019). Sexual Orientation. In J. Norcross and B. Wampold
        (Eds.) Psychotherapy Relationships That Work, Volume 2. London, England: Oxford
        University Press.
    5. Budge, S.L. & Orovecz, J.J. (2017). Gender fluidity. In K. Nadal (Ed.) The SAGE
        Encyclopedia of Psychology and Gender (pp. 660-662). Thousand Oaks, CA: SAGE.
    6. Budge, S.L. & Pankey, T. L. (2017). Interpersonal therapies and gender. In K. Nadal
        (Ed.) The SAGE Encyclopedia of Psychology and Gender (pp. 961-964). Thousand Oaks,
        CA: SAGE.
    7. Budge, S.L. & salkas, s. (2017). Experiences of transgender people within the LGBT
        community. In K. Nadal (Ed.) The SAGE Encyclopedia of Psychology and Gender (pp.
        1073-1075). Thousand Oaks, CA: SAGE.
    8. Budge, S.L. & Thai, J.L. (2017). Coming out processes for transgender people. In K.
        Nadal (Ed.) The SAGE Encyclopedia of Psychology and Gender (pp. 357-360). Thousand
        Oaks, CA: SAGE.
    9. Budge, S.L. & Sinnard, M. (2017). Trans. In K. Nadal (Ed.) The SAGE Encyclopedia of
        Psychology and Gender (pp. 1685-1685). Thousand Oaks, CA: SAGE.
    10. Akinniyi, D. & Budge, S.L. (2017). Biological sex and mental health outcomes. In K.
        Nadal (Ed.) The SAGE Encyclopedia of Psychology and Gender (pp. 161-165). Thousand
        Oaks, CA: SAGE.
    11. Lam, J. & Budge, S.L. (2017). Help-seeking behaviors and men. In K. Nadal (Ed.) The
        SAGE Encyclopedia of Psychology and Gender (pp. 832-834). Thousand Oaks, CA:
        SAGE.
    12. Jones, T., Chin, M.Y., & Budge, S.L. (2017). Sororities. In K. Nadal (Ed.) The SAGE
        Encyclopedia of Psychology and Gender (pp. 1611). Thousand Oaks, CA: SAGE.
    13. Sun, S. & Budge, S.L. Women’s group therapy. (2017). In K. Nadal (Ed.) The SAGE
        Encyclopedia of Psychology and Gender (pp. 1829-1830). Thousand Oaks, CA: SAGE.
    14. Sun, S., Minero, L., & Budge, S.L. (2017). Multiracial people and gender. In K. Nadal
        (Ed.) The SAGE Encyclopedia of Psychology and Gender (pp. 1208-1212). Thousand
        Oaks, CA: SAGE.



                                                                                                  10
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 26 of 46
Stephanie Budge CV 2023



    15. Alexander, D., Hunter, C., & Budge, S.L. (2017). Experiences of women in religious
        leadership. In K. Nadal (Ed.) The SAGE Encyclopedia of Psychology and Gender (pp.
        1813-1815). Thousand Oaks, CA: SAGE.
    16. Budge, S.L. (2017). Genderqueer. In A. Goldberg (Ed.) The SAGE Encyclopedia of
        LGBTQ Studies (pp. 460-463). Thousand Oaks, CA: SAGE.
    17. Budge, S.L. & Snyder, K.E. (2016). Sex-related differences research. In A. Goldberg
        (Ed.) The Wiley Blackwell Encyclopedia of Gender and Sexuality Studies (pp. 2125-
        2129). Thousand Oaks, CA: SAGE.
    18. Budge, S. L., & Wampold, B. E. (2015). The relationship: How it works. In O. C. G.
        Gelo, A. Pritz, & B. Rieken (Eds.), Psychotherapy research: Foundations, process, and
        outcomes (pp. 213-228). Dordrecht: Springer.

GRAPHIC NOVEL

Budge, S.L. & Funk, H. (2019). Longitudinal effects of psychotherapy with transgender clients:
A randomized controlled pilot trial. JKXComics. Available at:
https://www.jkxcomics.com/psychotherapy

RESEARCH REPORTS

Botsford, J.C., Allen, B.J., Andert, B.D., Budge, S.L., & Rehm, J.L. (2018). Meeting the
healthcare needs of transgender, nonbinary, and gender expansive/ nonconforming youth in
Wisconsin: A report of the 2017 Wisconsin Transgender Youth Community Needs Assessment.
Available at: https://www.med.wisc.edu/media/medwiscedu/documents/about-us/CH-174891-
18-TNG-Youth-Report-Full.pdf

PRACTICE REPORTS

Matsuno, E., Webb, A., Hashtpari, H., Budge, S.L., Krishnan, M., & Balsam, K. (2021).
Nonbinary fact sheet. A publication for the Society for the Psychological Study of Lesbian, Gay,
Bisexual, and Transgender Issues: Available at: https://www.apadivisions.org/division-
44/resources/advocacy/non-binary-facts.pdf

Paquin, J., Tao, K., & Budge, S.L. (2020). Is psychotherapy for everyone? Available at:
https://www.apa.org/pubs/highlights/spotlight/issue-192.

Webb, A. Matsuno, E., Budge, S.L., Krishnan, M., & Balsam, K. (2017). Nonbinary gender
identities fact sheet. A publication for the Society for the Psychological Study of Lesbian, Gay,
Bisexual, and Transgender Issues: Available at: https://www.apadivisions.org/division-
44/resources/advocacy/non-binary-facts.pdf

Budge, S.L. (2015). Critical considerations in writing letters for trans clients. Available at:
https://societyforpsychotherapy.org/critical-considerations-in-writing-letters-for-trans-clients/




                                                                                                    11
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 27 of 46
Stephanie Budge CV 2023



CURRICULUM GUIDE

McGinley, M., Christie, M. B., Clements, Z., Goldbach, C. M., Kraus, E., Woznicki, N. W.,
Breslow, A. S., Budge, S. L., & Matsuno, E. (2020). A resource for incorporating trans and
gender diverse issues into counseling psychology curricula. APA Division 17 Special Task
Group, Making Room at the Table: Trans/Nonbinary Pipeline to Counseling Psychology.
Available at: https://www.div17.org/wp-content/uploads/Incorporating-Trans-and-Gender-
Diverse-Issues-into-Counseling-Psychology-Curricula.pdf

RESEARCH SUPPORT
National Institute on Minority Health and Health Disparities             7/01/2023-6/30/2028
National Institute of Health, $3,500,000, submitted
This grant focuses on developing and measuring a social support instrument for transgender and
nonbinary people with the intent of creating community toolkits for LGBTQ+ community
organizations.
Role: Principal Investigator

Baldwin Seed Grant                                                         07/2023-07/2024
University of Wisconsin-Madison, $4,000—funded
Mentoring student (J. Lee) on a grant focused on family attachment processes and PTSD for
transgender and nonbinary people.
Role: PI

National Institute on Minority Health and Health Disparities                  9/01/2022-5/31/2027
National Institute of Health, $1,063,616, funded
This administrative grant focuses on Northern Arizona University’s (NAU’s) Southwest Health
Equity Research Collaborative (SHERC) to establish community-engaged priorities and strategic
plans for addressing a wide range of health disparities; provide the institutional infrastructure for
SHERC targeted research projects.
Role: Consultant

School Mental Health Collaborative IES Grant                                9/01/2022-9/01/2024
Institute of Education Training Grant, funded
This grant focuses on training postdoctoral trainees in innovative research methods that will
impact communities experiencing marginalization
Role: Collaborator

Young Investigator Grant                                                  9/01/2022-9/01/2024
American Foundation for Suicide Prevention, $90,000—funded
This grant focuses on using EMA methods to assist therapists with intervening for transgender
adult clients experiencing suicidal ideation.
Role: Co-Investigator

Diverse & Resilient Community Grant                                          9/17/2021-9/17/2022
Diverse & Resilient, $20,000—funded




                                                                                                  12
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 28 of 46
Stephanie Budge CV 2023



Community grant focusing on a program evaluation regarding a training for mental health
providers to infuse radical healing into their practice and to reduce internalized stigma.
Role: PI

Understanding and Reducing Inequities Initiative                            7/01/2021-7/01/2023
University of Wisconsin-Madison, $250,000—funded
Study focusing on creating a psychotherapy intervention for trans and nonbinary people that
includes radical healing and skills to reduce internalized transnegativity.
Role: PI

Baldwin Seed Grant                                                       07/2021-07/2022
University of Wisconsin-Madison, $4,000—funded
Mentoring student (L. Lindley) on a grant focused on coping mechanisms for transgender and
nonbinary people.
Role: PI

2030 Faculty Fellowship Funds                                         8/20/2020-8/20/2025
University of Wisconsin-Madison, $100,000—funded
Funds to support community-based research focused on improving mental health and wellness
for transgender and nonbinary people.
Role: PI

Baldwin Seed Grant                                                        06/2019-06/2020
University of Wisconsin-Madison, $4,000—funded
Mentoring student (M. Sinnard) on a grant focused on objectified body consciousness for trans,
nonbinary, and gender nonconforming individuals.
Role: PI

Online Course Development Grant                                             01/2019-9/2020
University of Wisconsin-Madison, $15,000—funded
This grant funds university faculty to design new and innovative courses at UW-Madison. The
funding will cover the creation of a course called “Gender and Queer Issues In Psychology” set
to begin in Summer 2020.
Role: Instructor

Fall Research Competition                                                 6/2018 – 6/2019
University of Wisconsin-Madison, $34,000 - funded
Research project determining the effectiveness of psychotherapy interventions focused on
minority stressors for transgender clients.
Role: PI

UW Institute for Clinical Research (ICTR)                                 6/2017 – 6/2018
Health Equity and Diversity (AHEAD) research pilot award, $10,000 - funded
Research project determining the effectiveness of psychotherapy interventions focused on
minority stressors for transgender clients.
Role: PI



                                                                                             13
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 29 of 46
Stephanie Budge CV 2023




National Institute of Health                                             1/2017 – 1/2019
NICHD, R21, $206,028—funded
Structured pubertal suppression readiness assessment for gender dysphoric youth.
Role: Collaborator

Gaining STEAM                                                                5/2018 – 5/2019
JKX Comics, $4800, awarded
Grant awarded to scientists to pair with a comic book artist to create visual representation
of scientific content.
Role: Scientist

Fall Research Competition                                                 5/2017 - 9/2018
University of Wisconsin-Madison, $60,000 - funded
Supplemental research project for the NIH grant (listed below) focusing on pubertal
suppression for transgender youth.
Role: PI

Wisconsin Partnership Program                                              6/2016 – 6/2018
Community Opportunity Grant, $50,000 - funded
A grant that assists with opportunities focused on transgender health and equity in health
care.
Role: Collaborator

UW Institute for Clinical Research (ICTR)                               6/2016 – 6/2018
Health Equity and Diversity (AHEAD) research pilot award, $10,000 - funded
Research project advancing the Wisconsin Survey of Trans Youth: An Assessment of
Resources and Needs.
Role: Co-investigator

Faculty Research Development Grant                                      10/2012 - 10/2013
University of Louisville, $2,200 - funded
Research project testing psychotherapy process and outcomes for transgender individuals.
Role: PI

Faculty Research Development Grant                                             9/2011- 9/2012
University of Louisville, $2,200 - funded
Research project regarding positive experiences of transgender identity and intersectionality of
identities with genderqueer individuals.
Role: PI

Charles J. Gelso Research Grant                                               6/2010 – 6/2012
American Psychological Association (Division 29), $2,000 - funded
Meta-analysis project focusing on personality disorders and treatment effectiveness.
Role: PI




                                                                                                   14
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 30 of 46
Stephanie Budge CV 2023



INTERNATIONAL PRESENTATIONS
Underlining denotes student;

    1. Budge, S.L. & Lee, J. (2022, July). Understanding and Incorporating Trans-Affirmative
        Therapies When Working With Two Spirit, Trans, and Nonbinary Clients. Korean
        Counseling Association/ Korean Counseling Psychology Association Conference.
        Presented virtually to an audience in Seoul, Korea.
    2. Budge, S.L. (2021, June;). Attending to Power, Privilege, and Oppression in
        Psychotherapy Research. Panel moderator for a plenary session at the Society for
        Psychotherapy Research, Heidelberg, Germany (hybrid model online due to COVID-19).
    3. Budge, S.L. (2020, October). Mental Health Care for Trans Youth: What Helps Youth
        Thrive and What Resources are Requested? World Professional Association for
        Transgender Health (WPATH) Conference, originally scheduled to be in Hong Kong,
        online due to COVID-19.
    4. Budge, S.L. & Sinnard, M.T. (2020, October). Acceptability and Feasibility of a
        Randomized Controlled Trial with Transgender and Nonbinary Clients. World
        Professional Association for Transgender Health (WPATH) Conference, originally
        scheduled to be in Hong Kong, online due to COVID-19.
    5. Sinnard, M.T & Budge, S.L. (2020, October). Development of the Objectified Body
        Consciousness Scale for Transgender and Nonbinary Adults. World Professional
        Association for Transgender Health (WPATH) Conference, originally scheduled to be in
        Hong Kong, online due to COVID-19.
    6. Allen, B., Rehm, J., Budge, S.L., Botsford, J., & Andert, B. (2018, May). School Safety
        and Support for Transgender Youth with Non-binary vs. Binary Gender Identities.
        Pediatric Academic Societies (PAS) Conference, Toronto, Canada.
    7. Rehm, J., Allen, B., Budge, S.L., Botsford, J., & Andert, B. (2018, May). Transgender
        youth who receive gender related care from a specialized provider differ from other
        transgender youth. Pediatric Academic Societies (PAS) Conference, Toronto, Canada.
    8. Rehm, J., Allen, B., Budge, S.L., Botsford, J., & Andert, B. (2018, May). Increased
        awareness of healthcare needs of youth with nonbinary gender identities is needed.
        Pediatric Academic Societies (PAS) Conference, Toronto, Canada.
    9. Budge, S.L. & Katz-Wise, S.L. (2016, July). Emotional expression of trans youth and
        their families: A cross-comparison of familial cultures for gender and emotions. Paper
        presented at the International Congress of Psychology Conference, Yokohama, Japan.
    10. Chin, M.Y., Minero, L., & Budge, S.L. (2016, July). “This is me, and I am happy. I love
        it”: Understanding Internal Coping Processes of Trans-identified Individuals using
        Grounded Theory. Paper presented at the International Congress of Psychology
        Conference, Yokohama, Japan.
    11. Budge, S.L., Katz-Wise, S.L., Conniff, J., Belcourt, S., & Parks, R. (2016, July).
        Developmental processes of coping for trans youth: Results from the Trans Youth and
        Family Study (TYFS). Paper presented at the World Professional Association for
        Transgender Health Biannual Conference, Amsterdam, The Netherlands.
    12. Sinnard, M., Raines, C., & Budge, S.L. (2016, July). Effects of location and transition
        status on anxiety and depression in trans individuals. Paper presented at the World
        Professional Association for Transgender Health Biannual Conference, Amsterdam, The
        Netherlands.



                                                                                             15
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 31 of 46
Stephanie Budge CV 2023



    13. Budge, S.L. & salkas, s. (2016, July). An overview of non-binary gender identities in the
        National Transgender Discrimination Survey, Paper presented at the World Professional
        Association for Transgender Health Biannual Conference, Amsterdam, The Netherlands.
    14. Orovecz, J., salkas, s., & Budge, S.L. (2016, July). External identity processes for
        individuals with non-binary identities. Paper presented at the World Professional
        Association for Transgender Health Biannual Conference, Amsterdam, The Netherlands.
    15. Rossman, K., Sinnard, M., & Budge, S.L. (2016, July). The externalization of affect for
        individuals with non-binary gender identities. Paper presented at the World Professional
        Association for Transgender Health Biannual Conference, Amsterdam, The Netherlands.
    16. Hase, C.N., Reiland, M.T., Budge, S.L. (2015, August). “Omitting none:” Experience of
        people of color in a primarily white meditation community. Poster presented at American
        Psychological Association. Toronto, ON.
    17. Akinniyi, D.A. & Budge, S.L. (2015, August). Genderqueer individuals’
        conceptualizations of multiple identities: A qualitative investigation using identity maps.
        Paper presented at the Annual Meeting for the American Psychological Association,
        Toronto, Canada.
    18. Sinnard, M. & Budge, S.L. (2015, August). Effects of location and transition status on
        anxiety and depression in trans individuals. Poster presented at the Annual Meeting for
        the American Psychological Association, Toronto, Canada.
    19. Watkins, C.E., Budge, S.L., & Wampold, B.E. (2015, August). Extrapolating the
        Wampold/Budge psychotherapy relationship model to psychotherapy supervision. Paper
        presented at the Annual Meeting for the American Psychological Association, Toronto,
        Canada.
    20. Budge, S.L. (2014, February). Developmental processes of positive emotions for trans
        individuals: The interplay of interpersonal emotions and transition appraisal. Paper
        presented at the World Professional Association for Transgender Health Biannual
        Conference, Bangkok, Thailand.
    21. Budge, S.L., Adelson, J.L., & Howard, K.A.S. (2014, February). Transgender and
        Genderqueer individuals’ mental health concerns: A moderated mediation analysis of
        social support and coping. Paper presented the World Professional Association for
        Transgender Health Biannual Conference, Bangkok, Thailand.

NATIONAL PRESENTATIONS
Underlining denotes student;

    1. Klessig, C., Dyer, R. L., Teasdale, T., Weber, I. J., & Budge, S. L. (2022). “In most
       cases, abortion is understandable”: A qualitative investigation of psychotherapists’
       abortion attitudes. Poster presented at the 2022 American Psychological Association
       Annual Convention, Minneapolis, MN.
    2. Teasdale, T., Dyer, R. L., Weber, I. J., Klessig, C., & Budge, S. L. (2022). Exploring the
       impact of benevolent sexism on mental health clinicians’ abortion attitudes. Poster
       presented at the 2022 American Psychological Association Annual Convention,
       Minneapolis, MN.
    3. Weber, I. J., Dyer, R. L., Klessig, C., Teasdale, T., & Budge, S. L. (2022). Mental health
       clinicians’ attitudes about classism and client pregnancy decisions. Poster presented at
       the 2022 American Psychological Association Annual Convention, Minneapolis, MN



                                                                                                 16
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 32 of 46
Stephanie Budge CV 2023



    4. Smith, C. L., Zubizarreta, D., Budge, S. L., Watson, R. J., Gordon, A. R., Austin, S. B.,
        & Katz-Wise, S. L. (2022, August). Risk and protective factors related to body image
        and disordered eating in a longitudinal study of Transgender and Nonbinary
        adolescents. Poster presented at the American Psychological Association Convention,
        Minneapolis, Minnesota.
    5. Guan, T., Pham, C., & Budge, S.L. (2022, August). Disrupting white supremacy in
        psychology training: Recommendations to support trainees of color. Poster presented at
        the American Psychological Association Convention, Minneapolis, Minnesota
    6. Lee, J. & Budge, S.L. (2022, August). Moving From Gatekeeping to a Companionship
        Model in Letter Writing for TNB Individuals. Poster presented at the American
        Psychological Association Convention, Minneapolis, Minnesota.
    7. Dominguez, Jr. S., & Budge, S.L. (2022, August). Using CBPR in Psychotherapy
        Research to Undermine Gatekeeping Practices. Paper presented at the American
        Psychological Association Convention, Minneapolis, Minnesota.
    8. Lee, J., Dominguez Jr., S., Matsuno, E., Norton, M., Lindley, L., Tebbe, E., & Budge,
        S.L. (2022, August). Mixed-Methods Results from Gender, Resilience and Resistance,
        Empowerment, and Affirmation Training. Paper presented at the American Psychological
        Association Convention, Minneapolis, Minnesota
    9. Dominguez Jr., S. Budge, S.L., Tebbe, E.A., Norton, M., Lee, J., Lindley, L., & mcneill,
        j. (2022, August). Baseline data from an open psychotherapy trial with Two-Spirit, Trans,
        & Nonbinary Clients of Color. Paper presented at the American Psychological
        Association Convention, Minneapolis, Minnesota.
    10. Budge, S.L. (2022, August). Changing Cisnormative Spaces: Improving Access to
        Psychotherapy and Educational Spaces for Trans and Nonbinary People. Fellows talk
        provided at the American Psychological Association Convention, Minneapolis,
        Minnesota.
    11. Smith, C. L., Zubizarreta, D., Budge, S. L., Watson, R. J., Gordon, A. R., Austin, S. B.,
        & Katz-Wise, S. L. (2022, June). Longitudinal associations of risk and protective factors
        on body image and disordered eating among Transgender and Nonbinary youth. Paper
        presented at the International Conference of Eating Disorders, Virtual Conference.
    12. Budge, S.L. (2021, August). Gab with the greats. An invited panelist for Division 29
        Society for the Advancement of Psychotherapy at the annual America Psychological
        Association National Convention, Virtual Conference.
    13. Budge, S.L. (2021, August). Attending to Power, Oppression, and Healing with Trans,
        Nonbinary, and Queer Populations. Chair of symposium presented at a mini symposium
        at the at the annual America Psychological Association National Convention, Virtual
        Conference.
    14. Elliott, G., Domínguez, S. Jr., & Budge, S. L. (2021, August). A Case Study Approach to
        Using a Strong Intersectional Lens in Therapy with Trans and Nonbinary Clients. Paper
        presented at a mini symposium at the at the annual America Psychological Association
        National Convention, Virtual Conference.
    15. Norton, M., Domínguez, S. Jr., Elliot, G., & Budge, S. L. (2021, August). Dismantling,
        Decolonizing, and Deconstructing: Engaging the Possibilities within a Critical Lab
        Praxes. Paper presented at a mini symposium at the at the annual America Psychological
        Association National Convention, Virtual Conference.




                                                                                             17
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 33 of 46
Stephanie Budge CV 2023



    16. McNeill, J. & Budge, S.L. (2021, August). Theory and Practice of Radical Healing for
        Queer and Trans Black and Indigenous People of Color. Paper presented at a mini
        symposium at the at the annual America Psychological Association National Convention,
        Virtual Conference.
    17. Lee, J., Hoyt, W.T., Budge. S.L., & Lee, B. (2021, August). Parental attachment and
        internalized transnegativity among Korean TNB populations: Role of Self-shame,
        Rejection Sensitivity, and self-concept clarity. Poster presented at the American
        Psychological Association Convention. Virtual Conference due to COVID-19.
    18. Lindley, L. & Budge, S.L. (2021, August). Development of the Transgender/Nonbinary
        Coping Measure. Poster presented at the American Psychological Association
        Convention. Virtual Conference due to COVID-19.
    19. Veldhuis, C.B., Budge, S.L., Velez, B., Galupo, M.P., Cascalheira, C., Renteria, R., &
        Delucio, K. (2021, August). Thought-Provoking Conversations about LGBTQIA+
        Research. Panelist at the American Psychological Association Convention. Virtual
        Conference due to COVID-19.
    20. Katz-Wise, S., Vishnudas, S., Smith, C., Marchwinski, B., Budge, S.L., Godwin, E.,
        Moore, L., Ehrensaft, D., Rosal, M.C., Thomson, K. (2021, May). Family Functioning
        and Mental Health: A Two-Year Longitudinal Study of Families with Transgender and/or
        Nonbinary Youth. Paper presented at the LGBTQ Health Conference. Virtual Conference
        due to COVID-19.
    21. Dyer, R.L. & Budge, S.L. (2021, March). Psychotherapist attitudes about client
        pregnancy decision-making: Developing a scale. Paper presented at the Association for
        Women in Psychology. Virtual Conference due to COVID-19.
    22. Budge, S.L., Velez, B., Mohr, J., Moradi, B., Puckett, J., & Matsuno, E. (2020, August).
        Taking the mystery out of publishing LGBTQ research: Lessons learned. Symposium
        accepted at the 2020 American Psychological Association Convention, Washington, D.C.
    23. Budge, S.L., Sinnard, M.T., & Hoyt, W.T. (2020, August). Minority stress outcomes
        during and post psychotherapy: 6-month follow-up results for trans clients. Paper
        accepted at the 2020 American Psychological Association Convention, Washington, D.C.
    24. Tao, K., Paquin, J., & Budge, S.L. (2020, April). Using a counseling psychology lens to
        propose and implement a social justice framework for ethical psychotherapy research.
        Symposium accepted at the 2020 Counseling Psychology Conference, New Orleans,
        Louisiana. Conference cancelled due to COVID-19.
    25. Dyer, R.L. & Budge, S.L. (2020, April). Qualitative examination of transgender clients’
        reflections on discussing minority stress with psychotherapists. Poster to be presented at
        the 2020 Counseling Psychology Conference, New Orleans, Louisiana. Conference
        cancelled due to COVID-19.
    26. Domínguez, S. Jr., Budge, S. L. (2020, April). The Social and Internal Aspects of Gender
        Dysphoria Scale (SIAGD): A community-engaged measure for gender dysphoria. Poster
        to be presented at the 2020 Counseling Psychology Conference, New Orleans, Louisiana.
        Conference cancelled due to COVID-19.
    27. Domínguez, S. Jr., Budge, S. L., & Goldberg, A. E. (2019, August). Minority stress in
        nonbinary college students: The impact of campus climate and belongingness. Poster
        presented at the 2019 American Psychological Association National Convention, Chicago,
        IL.




                                                                                              18
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 34 of 46
Stephanie Budge CV 2023



    28. Dyer, R. L., Sinnard, M.T., & Budge, S. L. (2019, August). Working alliance and gender
        minority stress: Implications for psychotherapy with trans, nonbinary, and gender
        expansive/nonconforming clients. Poster presented at the 2019 American Psychological
        Association Convention, Chicago, Illinois.
    29. Sinnard, M.T., Dyer, R. L., & Budge, S. L. (2019, August). Effects of identity
        concealment on substance use and suicidality among Midwest trans, nonbinary, and
        gender expansive/nonconforming individuals. Poster presented at the 2019 American
        Psychological Association Convention, Chicago, Illinois.
    30. Schoenike, D., Wachter, E., & Budge, S.L. (2019, August). The Interaction of
        Transgender Identity, Race, and Mental Health: A Nationwide Sample. Poster presented
        at the 2019 American Psychological Association Convention, Chicago, Illinois.
    31. Barcelos, C., Budge, S.L., & Botsford, J. (2019, April). Uneven Access: The Health of
        Trans and Gender Nonconforming People in Wisconsin and the Upper Midwest. Paper to
        be presented at the Annual National Transgender Health Summit, San Francisco, CA.
    32. Bhattacharya, N., Budge, S.L., Pantalone, D., & Katz-Wise, S.L. (2018, November).
        Conceptualizing relationships among transgender and gender nonconforming youth and
        their caregivers. Paper presented at the American Public Health Association Conference,
        San Diego, California.
    33. Budge, S.L., Sinnard, M.T., & Hoyt, W.T. (2018, September). Longitudinal Effects of
        Psychotherapy with Transgender Clients: A 6-month Follow-up. Paper presented at the
        Biennial North American Society for Psychotherapy Research Conference, Snowbird,
        Utah.
    34. Sinnard, M.T. & Budge, S.L. (2018, September). “I Want to Correct Past Harmful
        Counseling Experiences”: Goal Attainment in Psychotherapy with Transgender Clients.
        Paper presented at the Biennial North American Society for Psychotherapy Research
        Conference, Snowbird, Utah.
    35. Budge, S.L. (2018, August). The feasibility of a clinical trial focusing on trans
        individuals’ minority stress. Paper presented at the Annual Meeting for the American
        Psychological Association, San Francisco, California.
    36. Budge, SL., Allen, B., Andert, B., Botsford, J., & Rehm, J. (2018, August). Resources
        contributing to psychological well-being for trans youth: A CBPR Approach. Paper
        presented at the Annual Meeting for the American Psychological Association, San
        Francisco, California.
    37. Sweetnam, M.R., Mauk, E., & Budge, S.L. (2018, August). A qualitative analysis of
        nonbinary and genderqueer individuals’ experiences of proximal and distal minority
        stress. Poster presented at the Annual Meeting for the American Psychological
        Association, San Francisco, California.
    38. Dillard, S., Sinnard, M.T., Budge, S.L., & Katz-Wise, S.L. (2018, August). Triadic
        analysis of concordance and discordance in families of trans youth. Poster presented at
        the Annual Meeting for the American Psychological Association, San Francisco,
        California.
    39. Mauk, E., Guo, E., Stock, C., Eck, M., & Budge, S.L. (2018, August). Minority stress
        interventions in a psychotherapy pilot trial for transgender clients. Paper presented at the
        Annual Meeting for the American Psychological Association, San Francisco, California.
    40. Orzechowski, M., Budge, S.L., Lavendar, A., Onsgard, K., Schamms, S., Liebowitz, S.,
        & Katz-Wise, S.L. (2018, August). Emotions of transgender youth. Poster presented at



                                                                                                 19
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 35 of 46
Stephanie Budge CV 2023



        the Annual Meeting for the American Psychological Association, San Francisco,
        California.
    41. Raines, C.R & Budge, S.L. (2018, August). Measuring masculine sexual entitlement:
        Subscales of a new instrument. Poster presented at the Annual Meeting for the American
        Psychological Association, San Francisco, California.
    42. Sinnard, M.T, Orzechowski, M., Budge, S.L., Belcourt, S., Conniff, J., Orovecz, J., Parks,
        R., Sun, S., & Sutton, J. (2018, August). Depression and anxiety among transgender
        compared to cisgender Individuals: A meta-analysis. Poster presented at the Annual
        Meeting for the American Psychological Association, San Francisco, California.
    43. Sinnard, M.T., Budge, S.L., & Hoyt, W.T. (2018, August). The effectiveness of
        psychotherapy for transgender clients: A randomized controlled trial. Paper presented at
        the Annual Meeting for the American Psychological Association, San Francisco,
        California.
    44. Sun, S., Hoyt, W.T., & Budge, S.L. (2018, August). Minority stress, HIV risk behaviors,
        and mental health among Chinese men who have sex with men (MSM): A qualitative
        analysis. Poster presented at the Annual Meeting for the American Psychological
        Association, San Francisco, California.
    45. Thomas, K.A., Andert, B., Ibarra, N., Budge, S.L., & dickey, l. (2018, August). Non-
        suicidal self-injury in transgender individuals. Poster presented at the Annual Meeting
        for the American Psychological Association, San Francisco, California.
    46. Dyer, R., Budge, S.L., Rehm, J., Botsford, J., Andert, B., & Allen, B. (2018, August).
        Rural-urban differences in perceived safety at school for Wisconsin trans youth. Poster
        presented at the Annual Meeting for the American Psychological Association, San
        Francisco, California.
    47. Raines, C.R & Budge, S.L. (2018, August). Understanding the relationships between
        masculine sexual entitlement, masculinity, and violence. Poster presented at the Annual
        Meeting for the American Psychological Association, San Francisco, California.
    48. Rehm, J., Botsford, J., Budge, S.L, Andert, B., & Allen, B. (2017, September). Initial
        results of needs assessment for trans and gender expansive youth in Wisconsin. Poster
        presented at the International Joint Meeting of Pediatric Endocrinology, Washington, D.C.
    49. Rossman, H. K., Sinnard, M. T., & Budge, S. L. (August, 2017). Bisexuality and
        Consensual Non-Monogamy for Trans Individuals and Their Romantic Partners. Paper
        presented at the Bisexuality Issues Committee Intersectionality Symposium at the Annual
        Meeting for the American Psychological Association in Washington, D.C.
    50. Minero, L.M. & Budge, S.L. (2017, February). Experiences of exclusion and
        discrimination among undocutrans (undocumented and transgender) individuals in the
        united states and implications for mental health professionals. Paper presented at the
        meeting for the United States Professional Association for Transgender Health, Los
        Angeles, California.
    51. Thai, J.L, Orovecz, J., Budge, S.L. (2017, February) “I was pretty sure I was doing the
        wrongest thing a wrong thing could be done”: A qualitative examination of trans men’s
        experiences of negative emotions. Presentation in a symposium at the US Professional
        Association of Transgender Health, Los Angeles, CA.
    52. Budge, S.L. (2017, February). Evaluating the effectiveness of psychotherapy with trans
        clients: using the working alliance inventory. Paper presented at the meeting for the
        United States Professional Association for Transgender Health, Los Angeles, California.



                                                                                              20
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 36 of 46
Stephanie Budge CV 2023



    53. Budge, S.L. (2016, August). Psychotherapy interventions, process, and outcome with
        transgender and gender non-conforming clients. Chair of invited symposium for Division
        29 at the Annual Meeting for the American Psychological Association, Denver, Colorado.
    54. Budge, S.L. (2016, August). The impact of minority stress interventions on
        psychotherapy outcomes with a trans client. Paper presented at the Annual Meeting for
        the American Psychological Association, Denver, Colorado.
    55. Minero, L.M., Chin, M.Y., & Budge, S.L. (2016, August). Transgender clients’ reports
        of characteristics of effective and trans-competent therapists. Paper presented at the
        Annual Meeting for the American Psychological Association, Denver, Colorado.
    56. Budge, S.L. (2016, August). The state and future of psychotherapy research with
        transgender clients. Paper presented at the Annual Meeting for the American
        Psychological Association, Denver, Colorado.
    57. Orovecz, J., Moon, J., & Budge, S.L. (2016, August) Using transgender emotion labels
        to expand on emotion models. Presentation in a symposium at the American
        Psychological Association Annual Convention, Denver, CO.
    58. Minero, L.M., Chin, M.Y., & Budge, S.L. (2016, August). Understanding external
        coping processes of trans-identified individuals using grounded theory. Poster presented
        at the Annual Meeting for the American Psychological Association, Denver, Colorado.
    59. Salkas, S. & Budge, S.L. (2016, August). An overview of US population-based data on
        individuals with non-binary gender identities. Paper presented at the Annual Meeting for
        the American Psychological Association, Denver, Colorado.
    60. Alexander, D., Orovecz, J., Salkas, S., Stahl, A., & Budge, S. L. (2016, August). Internal
        identity processes for individuals with non-binary identities. Paper presented at the
        Annual Meeting for the American Psychological Association, Denver, Colorado.
    61. Rossman, K., Sinnard, M., & Budge, S.L., (2016, August). The "queering" of emotions--
        using non-binary gender identity to label emotional processes. Paper presented at the
        Annual Meeting for the American Psychological Association, Denver, Colorado.
    62. Barr, S. M. & Budge, S.L. (2016, August). Experiences of self esteem and well-being for
        individuals with non-binary gender identities. Paper presented at the Annual Meeting for
        the American Psychological Association, Denver, Colorado.
    63. Chase, A., Lam, J., & Budge, S.L. (2016, August). Culture and masculine ideology:
        measuring masculinity among japanese american men. Poster presented at the Annual
        Meeting for the American Psychological Association, Denver, Colorado.
    64. Akinniyi, D. & Budge, S.L. (2016, August). The student-athlete experience: Multiple
        minority statuses and discrimination. Poster presented at the Annual Meeting for the
        American Psychological Association, Denver, Colorado.
    65. Budge, S.L. (2016, August). Identity processes, well-being, and emotional processes for
        individuals with non-binary identities. Chair of symposium at the Annual Meeting for the
        American Psychological Association, Denver, Colorado.
    66. Hase, C.N., Meadows, J.D., Budge, S.L. (2016, June). Inclusion and exclusion in the
        white space: An investigation of the experiences of people of color in a primarily white
        american meditation community. Poster presented at Mind & Life Summer Research
        Institute. Garrison, NY.
    67. Budge, S.L. (2015, June). The effectiveness of psychotherapeutic treatments for
        personality disorders: A review and critique of current research practices. Paper




                                                                                              21
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 37 of 46
Stephanie Budge CV 2023



        presented at the Annual Meeting for the Society for Psychotherapy Research,
        Philadelphia, PA.
    68. Kring, M. & Budge, S.L. (2015, June). Re-evaluating outcomes in psychotherapy:
        Considerations beyond self-report. Paper presented at the Annual Meeting for the Society
        for Psychotherapy Research, Philadelphia, PA.
    69. Owen, J. J., Wampold, B.E., Miller, S.D., Budge, S.L., & Minami, T. (2015, June).
        Trajectories of change in short-term psychotherapy: Lessons from growth curve mixture
        modeling. Paper presented at the Annual Meeting for the Society for Psychotherapy
        Research, Philadelphia, PA.
    70. Katz-Wise, S.L. & Budge, S.L. (2015, April). Imaging the future: qualitative findings of
        future orientation from trans youth and parents/caregivers in the Trans Youth Family
        Study. Paper presented at the Annual Transgender Health Summit, Oakland, CA.
    82. Budge, S.L. (2014, August). The other side of the story: trans individuals' experiences of
        positivity and resilience. Symposium chair for the Annual Meeting for the American
        Psychological Association, Washington, DC.
    83. Budge, S.L. (2014, August). Lessons learned from NIH-grant submission for LGBTQ
        research. Invited panelist for the Annual Meeting for the American Psychological
        Association, Washington, DC.
    71. Budge, S.L. & Katz-Wise, S.L. (2014, August). Emotional and interpersonal experiences
        of trans youth and their caregivers. Paper presented at the Annual Meeting for the
        American Psychological Association, Washington, DC.
    72. Eleazer, J.L., Nguyen, Y., Budge, S.L. (2014, August). “I’m afraid of my therapist":
        Military policy and access-to-care for transgender US service members. Paper presented
        at the Annual Meeting for the American Psychological Association, Washington, DC.
    73. Thai, J.L. & Budge, S.L. (2014, August). Mental health outcomes for trans Asian
        American, Asian, and Pacific Islander populations. Paper presented at the Annual
        Meeting for the American Psychological Association, Washington, DC.
    74. Alexander, D. & Budge, S.L. (2014, August). The impact of partner support on
        symptoms of anxiety for trans women, trans men, and genderqueer individuals. Poster
        presented at the Annual Meeting for the American Psychological Association,
        Washington, DC.
    75. Barr, S.M. & Budge, S.L. (2014, August). Trans identity salience as a predictor for
        well-being and body control beliefs for trans individuals. Poster presented at the
        Annual Meeting for the American Psychological Association, Washington, DC.
    76. Keller, B.L., Barr, S.M., & Budge, S.L. (2014, August). Trans women's emotional
        resilience: Reactions to the intersection of sexism and transphobia. Paper presented at the
        Annual Meeting for the American Psychological Association, Washington, DC.
    77. Rossman, H.K., Sinnard, M., Budge, S.L. (2014, August). Adapting a three-tiered model
        of emotions to genderqueer individuals' identity processes. Paper presented at the Annual
        Meeting for the American Psychological Association, Washington, DC.
    78. Thai, J.L., Orovecz, J., Budge, S.L. (2014, August). Trans men’s experiences of positive
        emotions: An examination of gender identity and emotion labels. Paper presented at the
        Annual Meeting for the American Psychological Association, Washington, DC.
    79. Tebbe, E.N., Brewster, M., Budge, S.L. (2014, August). A content analysis of
        transgender psychological literature. Poster presented at the Annual Meeting for the
        American Psychological Association, Washington, DC.



                                                                                                22
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 38 of 46
Stephanie Budge CV 2023



    80. Thai, J.L. & Budge, S.L. (2014, March). Family relationships and outness for
        transgender Asian Pacific Islander individuals. Paper presented at the Society of
        Counseling Psychology Conference, Atlanta, GA.
    81. Hunter, C. & Budge, S.L. (2014, March). The moderating effect of race related to
        discrimination for transgender individuals. Paper presented at the Society of Counseling
        Psychology Conference, Atlanta, GA.
    82. Alexander, D. & Budge, S.L. (2014, March). The impact of partner support on
        symptoms of anxiety for trans women, trans men, and genderqueer individuals. Paper
        presented at the Society of Counseling Psychology Conference, Atlanta, GA.
    83. Barr, S.M. & Budge, S.L. (2014, March). Validation of the Objectified Body
        Consciousness Scale for transgender individuals. Paper presented at the Society of
        Counseling Psychology Conference, Atlanta, GA.
    84. Budge, S.L. (2013, October). Addressing grief and role transitions for transgender
        clients experiencing gender identity incongruence. Paper presented at the Biennial North
        American Society for Psychotherapy Research Conference, Nashville, TN.
    85. Budge, S.L., Barr, S.M., Katz-Wise, S.L., Keller, B.L., & Manthos, M. (2013, June).
        Incorporating positivity into psychotherapy with trans clients. Workshop
        presented at the Annual Philadelphia Transgender Health Conference, Philadelphia, PA.
    86. Budge, S.L. & Barr, S.M. (2013, April). Emotional and identity processes of trans youth:
        A developmental approach. Paper presented at the Biennial Society for Research on
        Child Development Conference, Seattle, WA.
    87. Budge, S.L., Thai, J., Rossman, H.K. (2012, August) Intersecting identities and mental
        health outcomes for transsexual, cross-dressing, and genderqueer individuals. Poster
        presented at the Annual Meeting for the American Psychological Association, Orlando,
        Florida.
    88. Budge, S.L. & Keller, B.L. (2012, August). “She felt pressured, I felt neglected”: LGBQ
        individuals’ experiences of sexual pressure in relationships. Poster presented at the
        Annual Meeting for the American Psychological Association, Orlando, Florida.
    89. Budge, S.L., Moore, J., Neinhuis, J., Baardseth, T., & Wampold, B.E. (2012, June). The
        relative efficacy of bona-fide psychological treatments for personality disorders: A meta-
        analysis of direct comparisons. Paper presented at the Annual Meeting for the Society
        for Psychotherapy Research, Virginia Beach, Virginia.
    90. Budge, S.L. & Katz-Wise, S.L. (2012, February). Trans-affirmative therapy: Focusing
        on emotional and coping processes throughout gender transitioning. Workshop presented
        at the Transgender Spectrum Symposium, Annual Meeting of the Gay and Lesbian
        Affirmative Psychotherapy Association, New York, New York.
    91. Budge, S.L. & Katz-Wise, S.L. (2011, November). Transgender emotional and coping
        processes: Facilitative and avoidant coping throughout the gender transition. Paper
        presented at the Annual Meeting for the Society for the Scientific Study of Sexuality,
        Houston, Texas.
    92. Budge, S.L. & Howard, K.H. (2011, August). Gender socialization and genderqueer
        individuals: The impact of assigned sex on coping and mental health concerns. Paper
        presented at the Annual Meeting for the American Psychological Association,
        Washington, D.C.
    93. Tebbe, E.L., Budge, S.L., & Fischer, A. (2011, March). Transforming the research
        Goliath: Reflections on research with transgender communities. Roundtable presented at



                                                                                               23
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 39 of 46
Stephanie Budge CV 2023



        the Bi-Annual Meeting of the Association for Women in Psychology, Philadelphia,
        Pennsylvania.
    94. Budge, S.L. & Howard, K.A.S. (2010, August). Coping, social support, and well-being
        in the transition process for transgender individuals. Paper presented at the Annual
        Meeting for the American Psychological Association, San Diego, California.
    95. Baardseth, T.P., Budge, S.L., & Wampold, B.E. (2010, August). Allegiance and
        psychotherapy research: The effectiveness of supportive therapy as a control. Poster
        presented at the Annual Meeting for the American Psychological Association, San Diego,
        California.
    96. Solberg, V.S., Gresham, S.L., Budge, S.L., & Phelps, A.L. (2010, August). Impact of
        learning experiences on students with disabilities career development. Poster presented at
        the Annual Meeting for the American Psychological Association, San Diego, California.
    97. Katz-Wise, S.L., Budge, S.L., & Hyde, J.S. (2010, August). Individuation or
        identification? Objectified body consciousness. Poster presented at the Annual Meeting
        for the American Psychological Association, San Diego, California.
    98. Solberg, V.S., Gresham, S.L., Budge, S.L., & Phelps, A.L. (2010, August). Impact of
        exposure to quality learning experiences on career development. Paper presented at the
        Annual Meeting for the American Psychological Association, San Diego, California.
    99. Budge, S.L. & Fluckiger, C. (2010, June). Comparison of evidence-based-treatments
        versus treatment as usual: A meta-analysis. Paper presented at the Annual Meeting for
        the Society for Psychotherapy Research, Asilomar, California.
    100.         Budge, S.L. & Howard, K.A.S. (2010, April). Career decision-making in the
        transgender population: The role of barriers and discrimination. Paper presented at the
        Annual Meeting for the American Educational Research Association, Denver, Colorado.
    101.         Budge, S.L., Solberg, V.S., Phelps, L.A., Haakenson, K., & Durham, J. (2010,
        April). Promising practices for implementing Individualized Learning Plans:
        Perspectives of teachers, parents, and students. Paper presented at the Annual Meeting
        for the American Educational Research Association, Denver, Colorado.
    102.         Solberg, V.S., Gresham, S.L., Phelps, L.A., & Budge, S.L. (2010, April).
        Identifying decision-making patterns and its impact on career development and
        workforce readiness. Paper presented at the Annual Meeting for the American
        Educational Research Association, Denver, Colorado.
    103.         Katz-Wise, S.L., Budge, S.L., & Hyde, J.S. (2010, March). Objectified body
        consciousness and the mother-adolescent relationship. Poster presented at the Biennial
        Meeting for the Society for Research on Adolescence, Philadelphia, Pennsylvania.
    104.         Budge, S. L., Tebbe, E. N., Katz-Wise, S. L., Schneider, C. L., & Howard, K. A.
        (2009, August). Workplace transitions: Work experiences and the impact of transgender
        identity. Paper presented at the Annual Meeting of the American Psychological
        Association, Toronto, Ontario, Canada.
    105.         Katz-Wise, S. L., Budge, S. L., & Schneider, C. L. (2009, August). Navigating
        the gender binary: A qualitative study of transgender identity development. Paper
        presented at the Annual Meeting of the American Psychological Association, Toronto,
        Ontario, Canada.
    106.         Nelson, M. L., Thompson, M. N., Huffman, K. L., & Budge, S. L. (2009, August).
        Development and further validation of the social class identity dissonance scale. Paper




                                                                                              24
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 40 of 46
Stephanie Budge CV 2023



       presented at the Annual Meeting of the American Psychological Association, Toronto,
       Ontario, Canada.
    107.       Dvorscek, M., Budge, S. L., Bluemner, J. L., & Valdez, C. R. (2009, August).
       Health care provider perspectives on Latino patients with depression. Poster presented at
       the Annual Meeting of the American Psychological Association, Toronto, Ontario,
       Canada.
    108.       Neumaier, E. R., Budge, S. L., Bohlig, A. J., Doolin, E. M., & Nelson, M. L.
       (2009, August). I feel masculine but they think I’m feminine: Toward measuring
       experienced gender role. Poster presented at the Annual Meeting of the American
       Psychological Association during the Division 17 Social Hour, Toronto, Ontario,
       Canada.
    109.       Doolin, E. M., Graham, S. R., Hoyt, W. T., Budge, S. L., & Bohlig, A. J. (2009,
       January). Out and about in the South: Defining lesbian communities. Poster presented at
       the National Multicultural Conference and Summit, New Orleans, LA.
    110.       Budge, S. L., Tebbe, E. N. & Howard, K. A. S. (2009, January) Transgender
       individuals' work experiences: Perceived barriers, discrimination, and self-efficacy.
       Paper presented at the Annual Meeting of the Career Conference, Madison, WI.
    111.       Howard, K. A. S., Budge, S. L., Jones, J., & Higgins, K. (2009, January). Future
       plans of urban youth: A qualitative analysis of influences, barriers, & coping strategies.
       Paper presented at the Annual Meeting of the Career Conference, Madison, WI.
    112.       Budge, S., Schneider, C., Rodriguez, A., Katz-Wise, S., Tebbe, E., & Valdez, C.
       (2008, August). The emotional roller coaster: Transgender experiences of positive and
       negative emotions. Poster presented at the Annual Meeting of the American
       Psychological Association, Boston, MA.
    113.       Nelson, M. L., Huffman, K. & Budge, S. L., (2008, August). Initial validation of
       the Social Class Identity Dissonance Scale. Poster presented at the Annual Meeting of the
       American Psychological Association, Boston, MA.
    114.       Budge, S. L., Schneider, C., Rodriguez, A., & Howard, K. A. S. (2008, January)
       What about the “T”?: Career counseling with transgender populations. Paper presented
       at the Annual Meeting of the Career Conference, Madison, WI.
    115.       Howard, K. A .S., McKay, K. M., & Budge, S. L. (2007, August) Adolescents’
       use of SOC strategies: The interaction with low-income and high violence contexts.
       Poster presented at the Annual Meeting of the American Psychological Association, San
       Francisco, CA.
    116.       Budge, S. L. & Sherry, A. (2007, August) The influence of gender role on sexual
       compliance: A preliminary investigation of LGB relationships. Poster presented at the
       Annual Meeting of the American Psychological Association, San Francisco, CA.
    117.       Howard, K. A. S., Solberg, V. S., & Budge, S. L. (2007, August). Designing
       culturally responsive school counseling career development programming for youth.
       Paper presented at the Annual Meeting of the American Psychological Association, San
       Francisco, CA.
    118.       Howard, K. A. S., Jones, J. E., Budge, S., Gutierrez, B., Lemke, N., Owen, A., &
       Higgins, K. (2007, April). Academic and career goals of high school youth: processes
       and challenges. Paper presented at the Annual Meeting of the American Educational
       Research Association, Chicago, IL.




                                                                                              25
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 41 of 46
Stephanie Budge CV 2023



REGIONAL PRESENTATIONS
Underlining denotes student;

    1. Dominguez, S. Jr., Matsuno, E., Budge, S. L., & Tebbe, E. (2021, September).
        Gender, Resilience and Resistance, Empowerment, and Affirmation Training. Training
        provided at the University of Wisconsin-Madison via Zoom.
    2. Dominguez, S. Jr., & Budge, S. L. (2021, May). Microaggressions, communication, and
        power dynamics. Workshop presented at the Madison Inclusive Leadership Conference,
        Madison, Wisconsin.
    3. Tebbe, E.A. & Budge, S.L. (2021, April). Transforming healing spaces: Tips and
        considerations in creating trans affirming spaces. Workshop provided at the Wisconsin
        LGBTQ Health Summit, Madison, Wisconsin.
    4. Budge, S.L., Lindley, L., & Dominguez, S. (2021, February). Supporting mental health
        care for TNB clients. School of Social Work, University of Wisconsin-Madison, Madison,
        Wisconsin.
    5. Budge, S.L. (2020, September). Recruiting LGBTQ populations. Symposium for
        Research Administrators. Madison, Wisconsin.
    6. Budge, S.L. (2020, September). Best practices for conducting research with LGBTQ
        populations. Institute for Clinical and Translational Research training for researchers at
        the University of Wisconsin-Madison. Madison, Wisconsin.
    7. Budge, S.L. (2019, April). Trans affirmative therapy: Therapy for trans and nonbinary
        clients beyond the “101.” Workshop provided at the Wisconsin LGBTQ Health Summit,
        Madison, Wisconsin.
    8. Guo, E., Mauk, E., & Budge, S.L. (2018, November). Minority stress interventions in a
        psychotherapy pilot trial for transgender clients. Paper presented at the Annual Meeting
        for the Wisconsin Counseling Association, Madison, Wisconsin.
    9. Budge. S.L. (2018, November). Mental Health and Wellbeing: Trans, Nonbinary, and
        Gender Nonconforming People. Paper presented at the Annual Midwest Family Medicine
        Conference, Madison, Wisconsin.
    10. Dyer, R. L., Budge, S. L., Botsford, J., Andert, B., Rehm, J., & Allen, B. (April
        2018). Supporting trans youth in rural Wisconsin. Symposium presented at the 2018
        Wisqueer Conference, Madison, Wisconsin.
    11. Dyer, R. L., Budge, S. L., Botsford, J., Andert, B., Rehm, J., & Allen, B. (April
        2018). Trans youth needs assessment survey results: Nonmetropolitan-metropolitan
        differences in perceived safety at school for Wisconsin trans and nonbinary youth. Poster
        presented at the 2018 Wisconsin Psychological Association Convention, Appleton,
        Wisconsin.
    12. Budge, S.L. & Bostford, J. (February, 2018). Trans experiences in Mental Health.
        Symposium presented at the 2018 Wisconsin LGBTQ Summit, Milwaukee, Wisconsin.
    13. Dyer, R. L., Budge, S. L., Botsford, J., Andert, B., Rehm, J., & Allen, B. (February
        2018). Supporting trans youth in rural Wisconsin. Symposium presented at the 2018
        Wisconsin LGBTQ Summit, Milwaukee, Wisconsin.
    14. Budge, S.L. (2017, September). Transgender individuals and minority stress: The past,
        present, and future. Research talk presented for the UW Department of Psychology
        Diversity series.




                                                                                              26
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 42 of 46
Stephanie Budge CV 2023



    15. Budge, S.L. and Karcher, O. (2017, May). Supporting trans youth and their mental
        health needs, Part 2. Paper presented at the Supporting Trans and Gender Expansive
        Youth conference, Madison, Wisconsin.
    16. Budge, S.L. (2016, October). Supporting trans youth and their mental health needs.
        Paper presented at the Supporting Trans and Gender Expansive Youth conference,
        Madison, Wisconsin.
    17. Budge, S.L. (2013, November). Incorporating an IPT approach with transgender clients.
        Paper presented at the Annual Kentucky Psychological Association Conference,
        Lexington, Kentucky.
    18. Budge, S.L. (2013, April). Using interpersonal therapy with transgender clients.
        Workshop provided at the Annual University of Florida Interdisciplinary Conference on
        LGBT Issues.
    19. Barr, S. M. & Budge, S. L. (2013, April). The role of identity integration in the
        emotional well-being of post-transition individuals. Poster presentation at the Kentucky
        Psychological Association Student Research Conference, Louisville, Kentucky.
    20. Orovecz, J., Thai, J.L., & Budge, S.L. (2013, April). “I’m stoked about life”: The
        emotional processes of trans men through a qualitative lens. Poster presented at the
        Spring Research Conference, Lexington, Kentucky.
    21. Rossman, K. & Budge, S.L. (2013, April). Genderqueer individuals’ mental health
        concerns: The relationship between social support and coping. Paper presented at the
        Spring Research Conference, Lexington, Kentucky.
    22. Barr, S. M. & Budge, S. L. (2013, April). The role of identity integration in the
        emotional well-being of post-transition individuals. Poster presented at the Spring
        Research Conference, Lexington, Kentucky.
    23. Rossman, K. & Budge, S.L. (2013, June). Just the fact that I commanded that respect ‐ I
        got the privilege: Qualitative examination of privilege in the trans community. Paper
        presented at the Spring Research Conference, Lexington, Kentucky.
    24. Keller, B.L., Barr, S.M., & Budge, S. L. (2013, April). “For every bad, there’s 40 good
        things that happen”: A qualitative approach to understanding the positive emotional
        experiences of trans women. Poster presentation at the Spring Research Conference,
        Lexington, Kentucky.
    25. Orovecz, J., Thai, J.L., & Budge, S.L. (2013, April). “I’m stoked about life”: The
        emotional processes of trans men through a qualitative lens. Presented at the Spring
        Research Conference, Lexington, Kentucky.
    26. Orovecz, J., Thai, J.L., & Budge, S.L. (2013, March). “I’m me, and I’m proud to be
        me”: A grounded theory analysis of trans men’s emotional processes. Presented at the
        Kentucky Psychological Association Foundation Spring Academic Conference,
        Louisville, Kentucky.
    27. Eleazer, J. R. & Budge, S. L. (2013, March). “It would be better for them to have a dead
        hero for a father than a freak:” Suicidality and trans military service. Poster presented at
        the Kentucky Psychological Association Spring Academic Conference, Louisville,
        Kentucky.
    28. Sinnard, M., Rossman, K., & Budge, S. L. (2013, March). Positive emotional
        experiences of gender non-binary identified individuals. Poster presentation at the
        Kentucky Psychological Association Student Research Conference, Louisville, Kentucky.




                                                                                                 27
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 43 of 46
Stephanie Budge CV 2023



    29. Barr, S.M., Stahl, A., Manthos, M., & Budge, S.L. (2012, November). “It means there
        aren’t rules and you don’t have to ascribe to a specific binary”: A qualitative
        examination of genderqueer identity. Paper presented at the Chicago LGBTQ Health and
        Wellness Conference, Chicago, Illinois.
    30. Thai, J.L., Orovecz, J., & Budge, S.L. (2012, November). Trans men and positivity:
        Emotional processes related to identity. Paper presented at the Chicago LGBTQ Health
        and Wellness Conference, Chicago, Illinois.
    31. Budge, S.L., Barr, S.M., Orovecz, J., & Rossman, H.K. (2012, November). Clinical work
        with LGBT youth. Workshop provided at the Annual Kentucky Psychological Association
        Conference, Louisville, Kentucky.
    32. Budge, S.L., Lee, S., & Monahan-Rial, V. (2011, February). Bridging institutional gaps:
        Utilizing transgender-affirmative therapy with college students. Workshop presented at
        the Annual Meeting for the Big 10 College Counseling Center Conference, Minneapolis,
        Minnesota.
    33. Lee, J., Budge, S.L., Wilson, J.L., & Roper, J.M. (2011, February). The Korean
        Conundrum: Managing stigma in the recruitment of group counseling members.
        Workshop presented at the Annual Meeting for the Big 10 College Counseling Center
        Conference, Minneapolis, Minnesota.
    34. Budge, S.L. & Katz-Wise, S.L. (2010, February). Transition to adulthood:
        Developmental steps for transgender individuals. Workshop presented at the Conference
        on Transgender and Gender Variant Youth, Madison, Wisconsin.
    35. Budge, S.L. (2009, October). Individualized Learning Plans: Parent, student, and
        educator focus groups. Paper presented at the Fall Institute for the National Collaborative
        on Workforce and Disability/Youth, Charleston, South Carolina.

KEYNOTE AND INVITED PRESENTATIONS

    1. Budge, S.L. & Hamer, J. (2022, December). Diversity Management Strategies to
       Improve Cross-Cultural and Intercultural Communication in Research Teams. Invited
       training to the Center for Innovations in Quality, Effectiveness, and Safety at the Houston
       Veterans Affairs, Houston, Texas.
    2. Budge, S.L. (2022, November). Community-Based Research: A Step-By-Step Guide to
       Starting and Implementing Research Team and Community Feedback. University of
       Arkansas Department of Psychiatry and Behavioral Sciences and South Central MIRECC
       for Veterans Affairs, Little Rock, Arkansas.
    3. Budge, S.L. (2022, October). Community-centered mental health. Workshop provided to
       LGBTQ+ Health Fellows in the School of Medicine and Public Health, University of
       Wisconsin-Madison, Madison, WI.
    4. Budge, S.L. (2022, October). Barriers and Successful Outcomes in Recruiting
       Participants for Clinical Trial Research. Invited talk to the Center for Innovations in
       Quality, Effectiveness, and Safety at the Houston Veterans Affairs, Houston, Texas.
    5. Budge, S.L. (2022, October). Lessons learned from being an expert witness in
       discrimination trials. Invited talk University of Wisconsin-Madison Law School,
       University of Wisconsin-Madison, Madison, Wisconsin.
    6. Budge, S.L. (2022, October). LGBTQ+ Advocacy and Activism in Psychology. Invited
       talk at Clark University, Worcester, Massachusetts.



                                                                                                28
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 44 of 46
Stephanie Budge CV 2023



    7. Budge, S.L. (2022, October). Reducing barriers to accessing mental health care for Two
        Spirit, trans, and nonbinary people of color: An open clinical trial. Invited talk at Arizona
        State University, Tempe, Arizona.
    8. Budge, S.L. & Tebbe, E.A. (2022, July). Attending to internalized stigma in
        psychotherapy with Two Spirit, Transgender, and Nonbinary Clients. Workshop provided
        to Sondermind Therapy. Virtual workshop.
    9. Budge, S.L. (2022, July). Best practices in supporting trans and nonbinary youth. School
        of Education Early Career Institute, University of Wisconsin-Madison, Madison,
        Wisconsin.
    10. Budge, S.L., (2022, April). Reducing barriers to accessing mental health care for Two
        Spirit, trans, and nonbinary people of color: An open clinical trial building upon lessons
        learned. Invited talk to the Center for Innovations in Quality, Effectiveness, and Safety at
        the Houston Veterans Affairs, Houston, Texas.
    11. Budge, S.L., (2022, April). Conducting psychotherapy research with transgender and
        nonbinary populations: CBPR Methods and Lessons Learned. University of Arkansas
        Department of Psychiatry and Behavioral Sciences and South Central MIRECC for
        Veterans Affairs, Little Rock, Arkansas.
    12. Budge, S.L. (2022, April). Queering networking. Workshop provided by the APA
        Division 44 Science Committee. Virtual workshop.
    13. Budge, S.L. (2022, April). Queering research. Workshop provided by the APA Division
        44 Science Committee. Virtual.
    14. Budge, S.L. (2022, April). Providing evidence-based psychotherapy to transgender and
        nonbinary clients: Beyond the basics. Keynote presented at the Kentucky Psychological
        Association conference in Louisville, KY.
    15. Budge, S.L. Dominguez, Jr., S., & Lee, J. (2022, March). Providing trans affirming care
        to youth. Intern seminar at the Wisconsin Psychiatric Institute and Clinics, University of
        Wisconsin-Madison.
    16. Budge, S.L., Dominguez Jr., S., & Norton, M. (2022, February). Incorporating radical
        healing and addressing internalized transnegativity in psychotherapy for transgender,
        Two Spirit, and nonbinary people of color: A community-based participatory research
        approach. Workshop provided to the School Psychology Department, University of
        Wisconsin-Madison.
    17. Tebbe, E.A. & Budge, S.L. (2022, January). LGBTQ identity development in young
        people. Training provided to the Central Wisconsin Health Partnership, Appleton,
        Wisconsin.
    18. Budge, S.L. (2021, February). Conducting psychotherapy research with trans and
        nonbinary populations. Presented to the Counseling Psychology department at the
        University of British Columbia, Vancouver, Canada.
    19. Budge, S.L. & Dominguez, S. Jr. (2019, November). Mental health care for transgender,
        nonbinary, and gender nonconforming clients. Presented to practitioners at Group Health
        Cooperative Insurance, Madison, Wisconsin.
    20. Budge, S.L., Dominguez, S.Jr., Mauk, E., & Sweetnam, M. (2018, October). School of
        Education: At the forefront of transgender studies. Presented to the Board of Visitors at
        the School of Education—University of Wisconsin-Madison.




                                                                                                  29
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 45 of 46
Stephanie Budge CV 2023



    21. Budge, S.L. & Mauk, E. (2017, May). Health and well-being of LGBTQ students:
        Lessons learned and recommendations for educators. Invited presentation at the CESA
        Conference, Madison, Wisconsin.
    22. Budge, S.L. (2016, March). The construction of gender identity as “disordered”: A
        critical examination of mental health using trans narratives. Invited presentation at the
        Women’s and Gender Studies Forum at the University of Florida, Gainesville, Florida.
    23. Budge, S.L. (2016, March). Understanding, acknowledging, and responding to LGBTQ
        microaggressions in health care settings. Keynote provided at the Florida Area Health
        Education Center, Gainesville, Florida.
    24. Budge, S.L. (2014, September). Positivity in trans populations: Implications for
        vocational psychology. Boston University, Boston, Massachusetts.
    25. Budge, S.L. (2013, April). Future directions for research and therapy with trans and
        gender diverse individuals. Keynote provided at the Annual University of Florida
        Interdisciplinary Conference on LGBT Issues.
    26. Budge, S.L. (2013, March). The psychology of sexual orientation and gender identity:
        future directions and implications. Keynote provided at the East Texas Psi Chi Student
        Research Conference, Tyler, Texas.

NATIONAL RESEARCH BRIEFINGS

    1. Budge, S.L., & Solberg, V.S., (2010, March) Career exploration and the use of career
       narrative data for high school students’ career exploration processes: A United States
       sample. Research briefing presented at the Department of Labor, Washington, D.C.
    2. Budge, S.L., Solberg, V.S., & Phelps, A.L. (2010, March) Individualized Learning Plans
       within a community-oriented approach: The usefulness of focus group data with parents,
       teachers, and students. Research briefing presented at the Department of Labor,
       Washington, D.C.

INTERNATIONAL RESEARCH BRIEFINGS

    1. Budge, S.L., & Solberg, V.S., (2010, February) A three-tiered approach to analyze the
       career decision making processes using focus group data with Singaporean parents,
       students, and staff. Research briefing presented at the Ministry of Education, Singapore.
    2. Budge, S.L., & Solberg, V.S., (2010, February) Use of narrative analysis for high school
       students’ career exploration processes: A Singapore Sample. Research briefing presented
       at the Ministry of Education, Singapore.

BLOGS

Paquin, J., Tao, K., & Budge, S.L. (2020). Is psychotherapy effective for everyone?.
https://www.apa.org/pubs/highlights/spotlight/issue-192

Budge, S.L. (2015). Critical considerations in writing letters for trans clients.
https://societyforpsychotherapy.org/critical-considerations-in-writing-letters-for-trans-clients/




                                                                                                    30
          Case 4:23-cv-00185-JGZ Document 4 Filed 04/17/23 Page 46 of 46
Stephanie Budge CV 2023



PROFESSIONAL SERVICE

Associate Editor
Psychotherapy                                                            1/2014 – 1/2022
Psychology of Sexual Orientation and Gender Diversity                    8/2020 -- current

Guest Editor of Special Sections
Psychotherapy                                                            5/2019
Journal of Counseling Psychology                                         12/2017
Psychology of Sexual Orientation and Gender Diversity                    12/2017
Psychotherapy                                                            9/2016

Editorial Board
Psychotherapy                                                            1/2011 – 12/2013
Archives of Sexual Behavior                                              1/2014 – 12/2016
Psychology of Sexual Orientation and Gender Diversity                    1/2016 – 8/2020
International Journal of Transgender Health                              1/2016 – current
LGBTQ+ Family: An Interdisciplinary Journal                              9/2022 - current

Ad Hoc Reviewer: Journal of Consulting and Clinical Psychology, Clinical Psychology Review,
Journal of Counseling Psychology, The Counseling Psychologist, Feminism and Psychology,
Psychology of Religion and Spirituality, Psychology of Women Quarterly, Journal of GLBT
Family Issues, BioMed Central Journal, The Cognitive Behavior Therapist, Psychotherapy
Research, Routledge Publishers, Harvard University Press, Family Process

Leadership in Professional Organizations

Co-Chair of Division 17 Special Task Group                                  8/2019 – 8/2020
 "Building a Trans and Nonbinary Pipeline into Counseling Psychology." This special task group
included giving a free webinar about increasing access for trans and nonbinary students into
doctoral psych programs, creating a curriculum guide for psychology courses, and supporting a
research project that focused on trans and nonbinary students' experiences in counseling
psychology programs

Co-Chair of Division 44 Science Committee                                8/2011 – 8/2021
Society for the Psychological Study of Lesbian, Gay, Bisexual, and Transgender Issues (Division
44)

Membership in Professional Organizations

American Psychological Association (APA)
   Society of Counseling Psychology (Division 17)
   Division of Psychotherapy (Division 29)
   Society for the Psychological Study of Lesbian, Gay, Bisexual, and Transgender Issues
      (Division 44)
World Professional Association for Transgender Health (WPATH)


                                                                                             31
